Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 1 of 73




                              EXHIBIT 21
                                   :;.
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 2 of 73




                     Case: 1:23-cv-01887 Document#: 62-1 Filed: 09/22/23 Page 492 of 500 PagelD #:797




                                                 BINANCE HOLDINGS LTD.
                                                    STRUCTURE CHART

                                             Each of these entities is {directly or indirectly}
                                             wholly or majority owned by Changpeng Zhao




                     BIFOUNDERS LTD.
                                                          BIANGELS LTD. (BVI)                     BIPARTNERS LTD. (BVI)
                          (BVI)


                                66.85%                                       21. 15%                      12%




                                                       Bl NANCE HOLDINGS LTD.*
                                                           (CAYMAN ISLANDS)




* Binance Holdings Ltd. holds the majority of Binance.com's
trademarks and domains and enters into certain related vendor,
staffing, and intercompany agreements. It does not own or
operate the Binance.com virtual asset trading platform (the
"Binance Exchange"), and nor does it hold any of the entities that                                                        Exhibit
operate the Binance Exchange. Binance Holdings Ltd. does not                                                               0002
have any subsidiaries.                                                                                                    2/10/2022
  Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 3 of 73




                               Case : 1:23-cv-01887 Document #: 62-1 Filed : 09/22/23 Page 493 of 500 Page ID #:798


                                                               FUNCTIONAL STRUCTURE CHART
                                                                 OF BINANCE OPERATORS*
   Binance Operators include the entities that are related to exchange trading activity, includ ing fiat on-ramps/off-ramps. This chart also
   includes local exchanges (even though those loca l exchanges are local and, therefore, not technically operating on the .com platform).
   Binance Operators do not include entities that are involved in creating coins (e.g., stablecoins) or unre lated to exchange trading activity.
   This chart reflects the entities that either hold the entities in the relevant jurisdiction or that functionally operate the exchange.


                                                                    Each of these entities is {directly or indirectly}
                                                                    wholly or majority owned by Changpeng Zhao




                  --                                                                                                         ---                       .                      .
                                      ···•···
                                            t           • •.   •           t
                                                                                                                                                                        ••.
                                        :       .                              .                                                                                        .
                                                    •     •    t•    :·•




    MOON TECH SPAIN SOCIEDAD
          LTDA {SPAIN)
                                 BN TECHNOLOGY SERVICES
                                        (UKRAINE)
                                                                           BN ARGENTINA SA
                                                                             (ARGENTINA)
                                                                                                Bl NANCE TECHNOLOGY &
                                                                                               INNOVATION NIGERIA LTD
                                                                                                       {NIGERIA)
                                                                                                                             •
                                                                                                                         Bl NANCE DIGITAL PTY LTD
                                                                                                                              {SOUTH AFRICA)
                                                                                                                                                    Bl NANCE ARGENTINA SA
                                                                                                                                                          (ARGENTINA)




* In addition to the operators above, there are other entities in existence that are involved in other
parts of the business and may share the Binance name. It is our understanding that these other
Binance entities do not functiona lly operate the Binance Exchange.

** Binance (Jersey) Ltd. (Jersey) and Binance Ltd. (Korea) are currently in the process of being wound                                                              2
down.
          Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 4 of 73




GROUP STRUCTURE                                        Case: 1:23-cv-01887 Document#: 62 1 Fileqj dJi9/22/2 Page 495 of 500 PagelD #:800

                            EMEA Vertical                                                      APAC Vertical           LATAM Vertical          Shared Services Vertical              Fiat Vertical            Derivatives Vertical            Investments Vertical

                                          100%                                                             100%                   100%                           100%                                100%                     100%                              100%

                             Binance Holdings (IE)                                             Binance (AP) Holdings   Binance Holdings UY            Binance (Services)                                            Brickhouse Trading              BinanceCapital
                                                                                                                                                                                       Bifinity UAB {LT}"'                                        Management Co., Ltd.
                                  Limited{lf)                                                       Limited {IE}             SA/UY}                  Holdings Limited {IE)                                              Limited {SC}
                                                                                                                                                                                                                                                         8 I
 Digital Asset/ Virtual Asset Servic"e,        1
                                                   '   (Tradit io nal) Securities
 Providers (DASPs / VASPs)                '1           Licensees                                BN KZ Technologies
                                           1                                                       Limited {Kl}                                    IP (trademarks &
           Binance Exchange (GIB)                                                                                                                                                     Bifinity SAS {France)
                                                                                                                                                   domain):
                Limited{GIJ
                                                                                                                                                                                                                                                     Acquisitions &
            Binance Excha nge (IE)                                                              lnvestbyBit Limited    Binance Exchange UY              Binance Holdings                                                                         Investments {PortCos)
                 Limited{IE}                                                                            {NZ}                 SA/UY}                        Limited (KY)               Bifinity UK Limited                                              seeslide3}
                                                                                                                                                                                              {UK}
          Binance France S.A.S. •

      BSCN Technology Services                                 Licensees
                                                                                                 lnvestbyBit Pty ltd                                                                                                     Institutional         ustody Vertical
         (Germany) GmbH                                                                             (AU}#H" 0 0                                                                      BN Software Systems                                      100%
                                                                                                                                                                                       (PTY) Ltd {South
                                                                                                                                                     Binance Technologies                  Arica                                   Binance Institutional
                                                                                                                                                          Limited(/£)                                                              Holdings Limited {IE}
                                                                                                Oztures Trading Ply
                                                                                                  Ltd{AU}"" 0   ""                                                                                                  100%                                       100%
      Moon Tech Spain Sociedad                                                                                                                        Tech Hub lntragroup             Bifinity Georgia U C
           Limitada (ES)"                                                                                                                            Service Providers (see                {Georgia)                   Block Technologies            Binance Institutional
                                                                                                                                                            slideZ                                                        Ple. Ltd. {SG)               SG Pte. Ltd. {SG)
                                                                                                BW1N pte Ltd (SG)-
                                                                                                ent i or Korean JV                               Shared Services Providers for
                                                       .. _____________ ,            ,,.   I                                                       Platform Ops, Custody Ops, Risk
                                                                                                                                                   & Compliance
                                                                                                    FutureAPAC                                     MKT /BO/ Growth
                                                                                                  Local Exchanges      Chile Fintech Express       Legal/ Finance / HR / CS             Colour Key:
                                                                                    oor.                                      SpA {CL)                                                  Green - Incorporated and in intended vertical
                                                         Binance Bahrain WLL                                                                        Binance (Switzerland)               Purple - Incorporated and transfer to intended vertical i n progress
                                                                                                                         Future LATAM                     AG/CH/                        Notes:
                                                                                                                        Local Exchanges                                                 * Currently has a VASP registration (AMLDS equivalent) for virtual asset
                                                        Bn Technology Services                                                                         Binance Europe                   exchange and custody. Operating (or can operate) an exchange.
                                                            LLC {Ukraine)                                                                           Services Limited (MT)               • • Final MVP License issued by t he Dubai Virtual Assets Regu latory Authori ty.
                                                                                                                                                                                        *** In-principle approval for an ADGM Financial Services Permission (FSP) for
                                                                                                                                                                                        broker-dealer and as custodian.
                                                                                                                                                      Ops Hub lntragraup                *** * Category 4 Crypto-Asset Service Provider; 1% held by Binance Bahrain
                                                                                                                                                     Service Providers (see             WLL (BH) .
                                                                                    100%
                                                          Binance Canada Ltd                                                                                slide2)                     ***** Digital Currency Exchange (DCE) provider registration.
                                                                     ,oor.                                                                                                              ****** Aust ralian Financial Services (AFS) licence to operate as a crypto
                                                                                                                                                                                        derivatives broker/dealer.
                                                            Binance canada
          Binance Poland sp. zoo•                                                                                                                                                       # Operating an exchange and sign ing w ith payment services/ EM I licensees. No
                                                              Holdin s Ltd
                                                                                                                                                                                        existi ng crypto licensing/registra tion regime.
                                                                     ,oor.
                                                                                                                                                                                        ## The remaining 5% are owned by 3 individuals, the original JV partners.
                                                         Binance Canada Asset
 100%             Future EMEA
                l oea/Platfarms                              ana ement Inc.                                                                                                                                                               Last Updated October 18, 2022
                     Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 5 of 73




    GROUP STRUCTURE                                           Case: 1:23-cv-01887 Document# 62-1 fijlfed : 09/2 /23 Page 496 of 500 9fl§\Q@lQ..lc~ oviders (Tech Hubs/
                                                                                                                                    Ops Hubs/ Product Hubs)
                                                                                                                                                                           100%




                                                                                                                                          Binance (Services) Holdings Limited {IE)




 100%                        100%                                                                                                                                                 100%                     100%                 100%                   100%                                        100%
                                                                                        100%                      100%                                                                                                                                                       100%                                       100%
                                                                                                                                              100%
                                                                                                                       Binance
     Binance                    Binance                                                                                                                                                                       T-do                                          BFintech              Binaoce
                                                                                       Blitz Capital                  Blockchain                 BinanceAsia                                                                                                                                          Binance              Binance
     Holdillf!S               Technologies                                                                                                                                         HashMusePte.              Singap<Ke                                     ServicosDe             Europe
                                                                                      Management                     Technology                  SefvicesPte.                                                                                                                                      Europe limited       Switzerland AG
  Limited (KY969)              Limited{lfJ                                                                                                                                           ltd.(SGO}              Technologies                                   Tecnologia             Services
                                                                                      Pte.ltd.(SGO)                 Development                   ltd. {SG27}                                                                                                                                          (UK34)               (CHO)
                                                                                                                                                                                                            Pte.ltd.(561)                                  Ltda(BR2}           Limited(Malta)
                                                                                                                    Pte. ltd. {SGO)

Holds registered IP     Holds primary                                                                            Reserved for Tech/Ops         Tech/Ops Hub                                                                                                Ops Hub           Ops Hub              Ops Hub               Ops Hub
                                                    To hold futures           Holdco for some                                                                                     KeyProduct:NFT       Key Product:
(trademarks&            proprietary tech                                                                         Hub(currentlyno               includin;-Compliance                                                                                        (incl CS and      (incl CS and         (incl Marketing and   (nopers.onnel;
                                                    matching engine IP        non-Binance                                                                                                              EaaS/Cloudexchange
                                                                                                                                                                                                                                                           "Operations"}     uoperations" )       uoperations~)         Compliance
domain) & Tech/Ops      assets (exchange and                                  named entities                     personnel)                    &Admin/BackOffice                                       (regulatedand3Ps)  100%
                                                                                                                                                                                               100%                                                                                                                     vendor contracts;
Hub(inclCS, Legal and   products)                                                                                                              Service Provider                        , - - - - - ' , & customization
Compliance)                                                                                                                                                                                            services                                                                                                         sponsorship
                                                                                                                                                                                         BinanceGlobal                      Binance Token                                                                               agreements)
   100%             100%                                                                                                                                                                    Sourcing                         dub Co. Ltd.
                                             100%                            100%                                    100%                                                                    Limited                            (BVI)
                                                                                                                                                                                           (Ireland)"                                                                                                                    TravelbyBitPty
                                                                                  Winind                                                                                                                                                                                                                                 Ltd(Australia)-
               Binary                            Unison                                                                                                                                                                            Key Product:
                                                                               Technologies                    lnforad                        Unison                                   Group procurement                                                                                                                 40%minority
             Technology                       Technologies                                                                                                                                                                         EaaS/Cloud
                                                                               (Middle East)                Technologies                   Technologies                                entity                                                                                                                            shareholders
           Development                        (Middle East)                                                                                                                                                                        exchange for
                                                                                Limited (AE-                W.L.L(&Jhmin)                      FZE
          Pte. Ltd.(56225}                      Limited                                                                                                                                                                            unreg1.1lated8inance
                                                                                  DIFCJ-                                                   (AE - DWTCA)
                                                  (AE}
                                                                                                                                                                                100%
                                                                             Tech/Ops Hub                   Tech/Ops Hub
        Tech/Ops Hub                         Tech/Ops Hub                                                                                Tech/Ops Hub
        (incl"Operationsn
        and Technology) 100%                                  100%                          100%                      100%                                 100%                                                     100%                100%                          100%                 100%             100%                 100%

                                                                                                                           Blockone                           Optic                                                                                                                                       Ality
 BPlAYHoldings             Broadchains                                                                                                                                                   BFintech              Chaintecs                                                           Arclight                               lnCyberAU
                                                                Pr"imeLink                                               Technologies                      Technologies                                                                     Ality                                                    Technologies
 Group Limited           Fintech Pte. ltd.                                                     BiniverseS.A.S.                                                                            Ukraine              Consulting                                     BFTMGUAB           Technologies                            Technologies
                                                               Management                                                (Middle East)                     (Middle East)                                                                Technologies                                                    limited
                                                                                                    (FR}                                                                                  limited            SingaporePte.                                       (LT}            limited(BC,                                Ptyltd
     {SC956}                   (5621}                          limited (BVI}                                                limited                        limited(AE-                                                                   DELLC(US)                                                     (Alberta,
                                                                                                                                                                                        (Ukraine)              Ltd.(5693}                                                          Canada)                                (Australia)
                                                                                                                                                              D/fQ 0                                                                                                                                   Canada)
Tech/Ops Hub            Tech/Ops Hub                                                                                                                                                                       Tech/Ops Hub                  U.S.Tech/         KeyProduct:Fan          Tech Hub           Tech Hub            Tech Hub
                                                              Tech/Ops Hub                       Tech Hub                  Tech Hub                        Tech Hub                      Tech/
(including              (ind Technology                                                                                                                                                                    (incl Compliance              Ops Hub           Tokens
Technology and CS)                                                                                                                                                                       OpdHub
                        and Compliance)                                                                                                                                                                    and uOperationsu)



                                                                                                                                               Vimr                   Gotechniques                                              Cype,                    Enigma                Montage               Cype,                   Titan
                                                              13058878.C.                                                                                                                             lnfozone
                                                                                                                                            Technology                Technologies                                           Technologies              Technologies          Technologies         Technologies           Technologies,
                                                              LTD. {Canada}                                                                                                                         Technologies
                                                                                                                                               e.v.                      S.R.l.                                              Limiteds.r.o.                GmbH                 Limited              SdnBhd                Unipessoal,
                                                                                                                                                                                                    Pte. ltd(SGJ
                                                                                                                                           (Netherlands}                   (Romania)                                             /CZ)                   {Germany}              {Ireland)            (Malaysia}           lDA.(Portugal}

                                                              Fiat on ramp
                                                                                                                                                                                                                                                              Tech Hubs                                    last Updated October 18, 2022
          Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 6 of 73




GROUP STRUCTURE                        Case: 1:23-cv-01887 Document#: 62 1 Fileqj dJi9/22/2 Page 497 of 500 PagelD #:802
                                                                                                                                                                                                                Portfolio / JV Entities/ Other entities
                                  Investments Vertical


                                 100%                                                                                                    100%                                100"/4                            100%                                                                  100%
                                                                                                                                                                                                                                                 100%

                                                                                                                                  Key Vision                      B Analytics Holdings             Cyber Shaft Enterprise                                              Sigma Chain AG
                          Binance Capital                                                                                                                                                                                              Merit Peak Limited
                                                                                                                              Development Ltd.                                                         Limited {BVI} -                                               {Switzerland) - spot
                        Management Co., Ltd. 1 -- - - . - - - - - - - - - - - - ,                                                                                Ltd {BVI} - investment                                              {BVI} - spot OTC trader
                              {BVI}                                                                       100%               {Seychelles} - fiat on               I holding company                 investment I holding                                              Ji uidi   rovider
                                                              60%
                                                                                                                                    ramp                                                                  company
                                                   Toko Alpha Pie Ltd                      BV Investment Holdings                                                                                                                                                                    100%
                                                     {Singapore) -                             Co. {Caymans) -
                                                   Indonesian digital                       investment I holding                                                                                                                                                        BifinityBrasil
                                                    exchange - 40%                                company                                                                                                                                                           lntermediai;:ao Ltda.
                                                                                                                                                                                          80%                                             100%
                                                   minori investors                                                                                                                                                                                                  (Brazil) -fiat on/off
                                                                                                          100%
                                                              49%                                                                                                                                                                                                            ramp
                                                                                                                                                                                Binance Technology &
                                                   PT. Ase t Digital Berkat                     BV Management                                                                                                                   Bundle Wa llet
                                                                                                                                                                                Innovation Nigeria Ltd
                                                    (Indonesia}- service                      {Singapore) Pte Ltd -                                                                                                             Technology Ltd
                                                                                                                                                                                {Nigeria)-JV company
                                                      company for the                         investment I holding                                                                                                               {Seychelles)
                                                                                                                                                                                20% minority investor]
                                                   Indonesian exchan e                              company

                                                                                                                                                                                                                                          100%


                                                                                                                                                                                                                                Bundle Wa llet
                                                                                                                                                                                                                            Technology Ltd {Nigeria)
                                          100%                                                                                                100%


                                                                                                                                        SwipeWallet Holding
                                 Swipewallet 1nc.                              Swipe Technologies
                                                                                                                                        Ltd (Ireland}- future
                              {Philippines) - Binance                         Ple. Ltd.{Singapore) -
                                                                                                                                        holding company for
                                        Pay                                       Binance Card
                                                                                                                                            Binance Card



                                          100"/4                                          100%                                   100%                                       100%


                               SwipeWallet AU J>ty                                 Swipe Brasil                           SwipeWallet                           SwipeWallet EU OU
                                 Ltd (Australia) -                             lntermediai;:ao Ltda.                   Technology UK Ltd                        (Estonia) - Binance
                                  Binance Card                                (Brazil) - Binance Card                 {UK} - Binance Card                              Card




  CoinMarketCap Ple
                                Hashtag Software Ple
    Ltd {Singapore) -
                                   Ltd (Singapore) -
  cryptocurrency data
                                 technology services
         services
                                                                                                                                                                                                                                                          Last Updated October 18, 2022
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 7 of 73




                             EXHIBIT 22
    Case
5/17/24, 2:50 1:23-md-03076-KMM
              PM                  Document
                              Binance              689-3
                                      to Sell Rest of         Entered
                                                      FTX Token           on
                                                                Holdings as    FLSD
                                                                            Alameda   Docket
                                                                                    CEO Defends 05/21/2024         Page 8 of 73
                                                                                                Firm's Financial Condition

                                             Consensus Price Increase Extended to Sunday! Save $850                                                    X

                                                                 C: CoinDesk
      I>         BTC • $66,819.71 +2.09%             ETH • $3,088.23 +5.11%               BNB • $579. 34 +1. 79%                       SOL • $1   Ad




   Consensus 2024
   Price Increase Extended Until
                                                                             01         22      09       53
                                                                              DAY        HR     MIN      SEC




     Finance
     Binance to Sell Rest of FTX Token Holdings as
     Alameda CEO Defends Firm's Financial Condition
    Alameda's CEO offered to buy Binance's FTT token holdings for $22 apiece.

     By Tracy Wang, Oliver Knight         (5) Nov 6, 2022 at 8:55 a.m . PST         Updated May 8, 2023 at 9:01 p.m . PDT

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           How crypto-savvy are you?                                                                                                                       ...
https://www.coindesk.com/business/2022/11/06/binance-sells-holdings-of-ftx-token-as-alameda-ceo-defends-firms-financial-condition/                         1/8
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5/17/24, 2:50 1:23-md-03076-KMM
              PM                  Document
                              Binance              689-3
                                      to Sell Rest of         Entered
                                                      FTX Token           on
                                                                Holdings as    FLSD
                                                                            Alameda   Docket
                                                                                    CEO Defends 05/21/2024         Page 9 of 73
                                                                                                Firm's Financial Condition


        How crypto-savvy are you?

        ( Q Crypto / Blockchain knowledgeable

        ( Q Crypto / Blockchain-curious learner

        ( Q Crypto / Blockchain expert

                                                                               Next


    Binance CEO Changpeng Zhao did not say how
    much FTT his firm will sell, but that as part of the
    cryptocurrency exchange's exit from FTX equity
    last year, Binance received roughly $2.1 billion
    worth in the form of BUSD (Binance's stablecoin)
    andFTT.




    I            CZ ♦ BNB O
                 @cz_binance • Follow

      As part of Binance's exit from FTX equity last year,
      Binance received roughly $2.1 billion USD equivalent
    1 in cash (BUSD and FTT). Due to recent revelations
      that have came to light, we have decided to
      liquidate any remaining FTT on our books. 1/4
        7:47 AM • Nov 6, 2022                                                            CD
                                          .!, Share this post

                                         Read 80 replies                                  )


                                           11 condition is stro
                                         'i the balance sheet

                                  ~st. to buy his firm's FT
                       _. . :i,22 each.

                                                                                                                                     ...
https://www.coindesk.com/business/2022/11/06/binance-sells-holdings-of-ftx-token-as-alameda-ceo-defends-firms-financial-condition/   2/8
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                                                                            Alameda CEODocket    05/21/2024
                                                                                        Defends Firm's              Page 10 of
                                                                                                       Financial Condition
                                                                                  73
          How crypto-savvy are you?

         ( Q Crypto / Blockchain knowledgeable

         ( Q Crypto / Blockchain-curious learner

         ( Q Crypto / Blockchain expert




    r                   Caroline O
                        @carolinecapital • Follow

         @cz_binance if you're looking to minimize the
         market impact on your FTT sales, Alameda will
         happily buy it all from you today at $22!
         8:03 AM • Nov 6, 2022                                                           <D
                                  •        Reply            .!, Share this post

                                                              Read 2K replies              )

    Speculation over the FTT token led to extreme price
    volatility amid the back-and-forth Twitter
    exchange.
     Published on TradingView.com, November 06, 2022 16'.29:15 UTC
     m< ,FTT-PERP, 1 23.0920 0 ,23.0980 H,23.1295 U3.0340 C, 23. 1005




                                                                                                                                     ...
https://www.coindesk.com/business/2022/11/06/binance-sells-holdings-of-ftx-token-as-alameda-ceo-defends-firms-financial-condition/   3/8
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                                                                                                       Financial Condition
                                                                           73
          How crypto-savvy are you?

         ( Q     Crypto / Blockchain knowledgeable


         ( Q     Crypto / Blockchain-curious learner


         ( Q     Crypto / Blockchain expert




     1uockcha1n explorer Etherscan showed an address
     moving 23 million FTT (worth approximately $530
     million) to a Binance exchange wallet Saturday
     afternoon.



                 DeFi Sniper
                 @DefiSniper • Follow
                 •C• Automated

         iw ! Transfer $583M worth of $FTX Token from
         0x04b4 to 0x28c6 on Ethereum
         r




 consensus ~~
 byCoinDesk



 Come Celebrate 1O
 Years of                                   (Txhash) Details I Ethersca
 Decentralizing the                         nsaction info for txhash
 Future                                    18850a4b8b 7ef9269da22b5

 May 29-31, 2024 I Austin, Texas


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                                                                                                                                     ...
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                                                                            Alameda CEODocket    05/21/2024
                                                                                        Defends Firm's              Page 12 of
                                                                                                       Financial Condition
                                                                           73
          How crypto-savvy are you?

         ( Q Crypto / Blockchain knowledgeable

         ( Q Crypto / Blockchain-curious learner

         ( Q Crypto / Blockchain expert



     trading firm owned $5.8 billion of FTT tokens
     (including FTT tokens pledged as collateral) as of
     June 30. Alameda was revealed to have $14.6
     billion in assets and $8 billion in liabilities,
     including $7.4 billion in unidentified loans.
                                                      ADVERTISEMENT




  On Saturday, Alameda Research CEO Caroline
            -~onded to the rumors by tweeting that
 consensus ~~ ~r $10 billion of assets "not
 byCoinDesk

                     ~ked balance sheet. Ellison
 Come Celebrate 1O
                       had undisclosed he
 Years of
                        r returned a bulk
 Decentralizing the
 Future
 May 29-31, 2024 I Austin, Texas
                                       sale of Binance's F
    Register Now                   ,rp eted as a slight aga
                                  • ••
                                      -
                                                                                                                                     ...
https://www.coindesk.com/business/2022/11/06/binance-sells-holdings-of-ftx-token-as-alameda-ceo-defends-firms-financial-condition/   5/8
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                               Binance to Sell Rest of689-3
                                                       FTX TokenEntered
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                                                                            Alameda CEODocket    05/21/2024
                                                                                        Defends Firm's              Page 13 of
                                                                                                       Financial Condition
                                                                              73
          How crypto-savvy are you?

         ( Q      Crypto / Blockchain knowledgeable


         ( Q      Crypto / Blockchain-curious learner


         ( Q      Crypto / Blockchain expert




          Newsletter ➔            Every Thursday



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     DISCLOSURE

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 consensus ~~
 byCoinDesk                              mdia outlet that covers the cryptocurrency industry. Its journalists abide by a strict set of editorial
                                           'esk was acquired by the Bullish gr.
 Come Celebrate 1O                             9/ock.one; both companies have
 Years of                                       including bitcoin. CoinDesk op
 Decentralizing the                             inDesk employees, including jo
 Future
 May 29-31, 2024 I Austin, Texas


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                         Tracy was the deputy managing edi
                                                                                                                                                   ...
https://www.coindesk.comlbusinessl2022/11/06/binance-sells-holdings-of-ftx-token-as-alameda-ceo-defends-firms-financial-condition/                 6/8
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        How crypto-savvy are you?

        ( Q      Crypto / Blockchain knowledgeable


        ( Q      Crypto / Blockchain-curious learner


        ( Q      Crypto / Blockchain expert




    Learn more about Consensus 2024, CoinDesk's longest-running and most influential event that
    brings together all sides of crypto, blockchain and Web3. Head to consensus.coindesk.com to
    register and buy your pass now.



     Read more about


    8 8                    ~am Bankman-Fried) (changpeng "CZ" Zhao)                 @


                                                                  For You                                       Recommended by 9utbrain IO>




                                            Milpitas: Massive                   New Retirement                    Abandoned
                                            Clearance Sale A...




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Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 16 of
                                      73




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                                                                                        Defends Firm's              Page 17 of
                                                                                                       Financial Condition

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   Life       Living With Long COVID     Shopping       Reviews        Health & Wellness     Parenting   Celebrity    Royals       Fashion    Beauty




       1!: CoinDesk
       Binance to Sell Rest of FTX Token Holdings as
       Alameda CEO Defends Firm's Financial Condition
       Tracy Wang, Oliver Knight
       Updated November 6, 2022 • 3 min read                                                    ~

       Binance's CEO, responding to a Coin Desk scoop about trading firm
       Alameda Research's balance sheet, tweeted Sunday that he will sell the
       remaining FTT tokens held on his books that he took on as part of his exit
       from Alameda sister company FTX last year.

       Binance CEO Changpeng "CZ" Zhao did not say how much FTT his firm will
       sell, but that as part of the cryptocurrency exchange's exit from FTX
       equity last year, Binance received roughly $2.1 billion worth in the form of
       BUSD (Binance's stablecoin) and FTT.




https://ca.style.yahoo.com/finance/news/binance-sell-rest-ftx-token-165514765.html#:- :text=Blockchain explorer Etherscan showed an,Binance excha ...      1/8
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                                                                            Alameda CEODocket    05/21/2024
                                                                                        Defends Firm's              Page 18 of
                                                                                                       Financial Condition

   A HOME              MAIL            NEWS      SPORTS         FINANCE           CELEBRITY
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   Life           Living With Long COVID           Shopping         Reviews

             to light, we have decided to liquidate any remaining FTT
             on our books. 1/4
                                                                                       Health & Wellness       Parenting     Celebrity    Royals    Fashion     Beauty

                                                                                                                                                                   X

             7:47 AM • Nov 6, 2022                                                                      CD
              •    21.SK          •     Reply    .!, Share

                                                    Read 80 replies



       Alameda's CEO, meanwhile, tweeted that her trading firm's financial
      condition is stronger than what was reflected by the balance sheet
      Coin Desk wrote about. She also offered, in a reply to the Binance CEO's
       post, to buy his firm's FTT token holdings for $22 each.


                      Caroline O
                      @carolinecapital • Follow

             @cz_binance if you 're looking to minimize the market
             impact on your FTT sales, Alameda will happily buy it all
             from you today at $22!
             8:03 AM • Nov 6, 2022                                                                      CD
              •    8.4K       •        Reply    .!, Share

                                                    Read 2K replies



      Speculation over the FTT token led to extreme price volatility amid the
       back-and-forth Twitter exchange.

      on TradingView.com, November 06, 2022 16:29:15 UTC
      ERP, 1 23.0920 0 :23.0980 H:23.1295 L:23.0340 C:23.1005

       etu al Futures (FTT•PERP) , 1, FTX




       20)




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5/14/24,       1:23-md-03076-KMM
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                                                       FTX TokenEntered
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                                                                                        Defends Firm's              Page 19 of
                                                                                                       Financial Condition

   A HOME            MAIL      NEWS      SPORTS        FINANCE       CELEBRITY
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                                                                                                                                                      X
      Blockchain explorer Etherscan showed an address moving 23 million FTT
      (worth approximately $530 million) to a Binance exchange wallet Saturday
      afternoon.


                     DeFi Sniper
                     @DefiSniper • Follow
                     •Cl> Automated

          iJ  ! Transfer $583M worth of $FTX Token from Ox04b4
          to Ox28c6 on Ethereum '




              etherscan.io
              Ethereum Transaction Hash (Txhash) Details I Etherscan
              Ethereum (ETH) detailed transaction info for txhash
              0x449adc3af3a36d62994d08850a4b8b 7 ef9269da22b5a 11555495bf2e27 ...

          7:30 AM • Nov 5, 2022                                                            CD
          •     42      •    Reply    .!, Share
                                            Read 8 replies                                    )
      The price of FTT declined 14% over a 24-hour period to $22.02, its lowest
      price since June, according to CoinMarketCap. As of press time, the price
      of FTT rebounded to $23.03.

      CZ's announcement comes after rumors swirled about the financial health
      of Sam Bankman-Fried's trading firm Alameda Research after a leaked
      balance sheet reviewed by Coin Desk revealed the trading firm owned $5.8
      billion of FTT tokens (including FTT tokens pledged as collateral) as of June
      30. Alameda was revealed to have $14.6 billion in assets and $8 billion in
      liabilities, including $7.4 billion in unidentified loans.

      On Saturday, Alameda Research CEO Caroline Ellison responded to the
      rumors by tweeting that Alameda had over $10 billion of assets "not


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                                                                            Alameda CEODocket    05/21/2024
                                                                                        Defends Firm's              Page 20 of
                                                                                                       Financial Condition

   A HOME        MAIL      NEWS      SPORTS        FINANCE       CELEBRITY
                                                                              73
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   Life     Living With Long COVID      Shopping       Reviews        Health & Wellness     Parenting   Celebrity    Royals        Fashion    Beauty

      as a slight against a competitor exchange.                                                                                                 X

      "We typically hold tokens for the long term. And we have held on to this
      token for this long," tweeted CZ. "We stay transparent with our actions."

      UPDATE (Nov. 6, 17:17 UTC): Adds additional context in body, details from
      Etherscan.

      UPDATE (Nov. 6, 18:10 UTC): Updates FTT price.




https://ca.style.yahoo.com/finance/news/binance-sell-rest-ftx-token-165514765.html#:- :text=Blockchain explorer Etherscan showed an,Binance excha ...       4/8
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5/14/24,       1:23-md-03076-KMM
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                                                       FTX TokenEntered
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                                                                            Alameda CEODocket    05/21/2024
                                                                                        Defends Firm's              Page 21 of
                                                                                                       Financial Condition

   A HOME        MAIL      NEWS      SPORTS        FINANCE       CELEBRITY
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                                                       FTX TokenEntered
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                                                                            Alameda CEODocket    05/21/2024
                                                                                        Defends Firm's              Page 22 of
                                                                                                       Financial Condition

   A HOME          MAIL      NEWS       SPORTS       FINANCE        CELEBRITY
                                                                                 73
                                                                                  STYLE      MOVIES      WEATHER        MOBILE




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                                                 G~;~;h~-C~i-~~~ poring over his TD Bank statements in March, preparing to pay taxes for his small X
                                                 immigration consulting firm in Oakville, Ont., when he noticed a $1.50 fee for sending an e-transfer_ It . _-~
                                                 surprising, because when he'd opened his business account three years ago, his financial advisor told hi ...



                                                 The Daily Beast
                                                 'Crying Little Sh*t': Sparks Fly in Cohen's Cross-Examination
                                                 Photo Illustration by Luis G. Rendon/The Daily Beast/Getty lmagesThe long-anticipated, brutal cross-
                                                 examination of Michael Cohen started Tuesday afternoon with pure fire and fury, as Donald Trump's lead
                                                 lawyer, Todd Blanche, prepared for battle.Blanche approached the podium, adjusted the microphone by...




                                                 People
                                                 Kate Upton Makes Bombshell Return to "Sports Illustrated Swimsuit" Cover in Red-Hot,
                                                 Ruffled Bikini
                                                 The 2011 Rookie of the Year returns for the magazine's 60th Anniversary issue alongside fellow cover
                                                 stars Chrissy Teigen, Gayle King and Hunter McGrady




                                                 HuffPost
                                                 Ex-Aide Predicts Melania Trump's Response To 'Humiliating' Trial Moment
                                                 Stephanie Grisham said it was an "absolutely" significant development for Donald Trump.




                                                 USA TODAY Sports - Golfweek
                                                 Rory Mcilroy files for divorce from wife, Erica, day before arriving for 2024 PGA
                                                 Championship
                                                 The couple were together for seven years.




                                                 Hello!
                                                 Prince Harry and Meghan Markle's reaction revealed as God Save the King is sung - watch
                                                 Prince Harry and Meghan Markle were filmed when God Save the King was sung during their tour of
                                                 Nigeria. Watch the clip here ...




                                                 People
                                                 Jessica Biel Celebrates a 'Heavenly' Poolside Mother's Day 'Alone' as She Strips Down in
                                                 Black Bikini
                                                 The actress shares sons Silas, 9, and Phineas, 3½, with husband Justin Timberlake




      Hello!
      King Charles makes confession about cancer side effect for first time
      King Charles spoke to the public during an engagement in Wiltshire, giving an insight into his cancer treatment


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                                                                                        Defends Firm's              Page 23 of
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                                                                                               "The Late Show" host spotted an uncomfortable momer          X
                                                                                               from the former president's criminal trial.




                                                 People
                                                 Maria Bello Marries Longtime Partner Dominique Crenn in 'Bohemian, Chic' Mexico
                                                 Wedding (Exclusive)
                                                 The actress and the Michelin-starred chef tied the knot on May 12 surrounded by 140 guests including
                                                 Patricia Arquette, Mariska Hargitay and Gavin Rossdale




                                                 HuffPost
                                                 Jake Tapper Immediately Fact-Checks Trump's 'Very Angry' Courthouse Rant
                                                 Donald Trump shouted about the case against him in remarks to reporters outside the Manhattan
                                                 courtroom.


                                        llmli
      ~AEL COHEN TESTIFIES IN TRUMP TRIAL @4Nl

                                                 lnStyle
                                                 Dua Lipa's Designer Micro Shorts Are So Short They're Practically Underwear
                                                 And they came with the tiniest Gucci belt.




                                                 The Canadian Press
                                                 American sought after 'So I raped you' Facebook message detained in France on 2021
                                                 warrant
                                                 LYON, France (AP) - An American accused of sexually assaulting a Pennsylvania college student in 2013
                                                 and later sending her a Facebook message that said, "So I raped you," has been detained in France after a
                                                 three-year search. A prosecutor in Metz, France, confirmed Tuesday that Ian Thomas Cleary, 31, of...



                                                 Variety
                                                 'Mad Max' Director Says 'There's No Excuse' for Tom Hardy and Charlize Theron's 'Fury
                                                 Road' Set Feud: Tom 'Had to Be Coaxed Out of His Trailer'
                                                 With his "Mad Max: Fury Road" prequel movie "Furiosa" gearing up for both its world premiere at the
                                                 Cannes Film Festival and its theatrical release later this month, director George Miller recently spoke to
                                                 The Telegraph and reflected on the notorious feud that broke out between stars Tom Hardy and Charliz...



                                                 Idaho Statesman
                                                 Angler's discovery leads officials to 14 huge invasive fish in CO. See the pond monsters
                                                 "Yes, many Jaws jokes were made."




      The Canadian Press
      'Make sure it doesn't get released;' Star witness Michael Cohen implicates Trump in hush money case


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                                                                                                       Financial Condition

   A HOME        MAIL      NEWS      SPORTS        FINANCE        CELEBRITY
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   Life     Living With Long COVID      Shopping        Reviews        Health & Wellness     Parenting      Celebrity      Royals      Fashion       Beauty

                                                                                            "That is going to be extraordinarily challenging for him,"     X
                                                                                            Donald Trump's niece.




                                               People
                                               Dwayne Johnson and Wife Lauren Hashian Sing Together in Mother's Day Video: 'We Make
                                               Up the Rules'
                                               The actor praised his wife as "blessed from the heavens above with kindness, empathy, compassion,
                                               beauty and an abundance of musical talents"




                                               HuffPost
                                               Donald Trump, Who Is Banned From Buying Firearms, To Address NRA
                                               The former president's appearance will mark the ninth time that he has addressed National Rifle
                                               Association members at a major public gathering.




                                               Business Insider
                                               A 24-year-old spent $140,000 buying and converting a Mercedes van. Take a look inside
                                               the luxury home on wheels.
                                               After building "cookie-cutter" camper vans, Abbe Minor set out to create something more bold. Her
                                               luxury van includes Moroccan plaster and organic shapes.




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Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 25 of
                                      73




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                            Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 26 of
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                                                                                                 Statista 05/21/2024 Page 27 of
                                                                     73

        Source: https://www .statista.com/statistics/326707/bitcoin-price-i ndex/


    Bitcoin (BTC) price per day from August 24, 2021 to May 19, 2024
   (in U.S. dollars)




https://www.statista.com/statistics/326707/bitcoin-price-index/                                                                   1/4
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                                                                                     19, 2024 Docket
                                                                                              I Statista 05/21/2024 Page 28 of
                                                                    73




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      Case
5/20/24,       1:23-md-03076-KMM
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                                                                     73

            ~" Zoomable Statistic: Select the range in the chart you want to zoom in on.                                 )(




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           Region

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      Case
5/20/24,       1:23-md-03076-KMM
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                                                              Bitcoin Entered
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                                                                                                 Statista 05/21/2024 Page 30 of

           Worldwide                                                 73

           Survey time period
           August 24, 2021 to May 19, 2024

           Special properties
           Monthly figures are as of the end of that particular
           month; Opening price

           Supplementary notes

           Figures have been rounded.




           Open this statistic in...
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           Citation formats
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        Bitcoin BTC/USD price history up until May 19, 2024
        Published by RaY-nor de Best, May 20, 2024
        Bitcoin (BTC} price again reached an all-time high in 2024, as values exceeded over 73,000 USO
        in March 2024. That particular price hike was connected to the approval of Bitcoin ETFs in the
        United States, whilst previous hikes in 2021 were due to events involving Tesla and Coinbase,
        respectively. Tesla's announcement in March 2021 that it had acquired 1.5 billion U.S. dollars'
        worth of the digital coin, for example, as well as the IPO of the U.S.' biggest C(Y-P-tO exchang�
        fueled mass interest. The market was noticably different by the end of 2022, however, with




https://www.statista.com/statistics/326707/bitcoin-price-index/                                                                   4/4
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 31 of
                                      73




                            EXHIBIT 25
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 32 of
                                      73

          #1 NEW YORK TIMES BEST-SELLING AUTHOR
  ISBN 1:23-md-03076-KMM
 Case  978-1-324-07433-5 DocumentUSA
                                  689-3   Entered on FLSD Docket 05/21/2024 Page 33 of
                                     $30.00
                               CAN. $40.0073


      From the #1 best-selling author of
  The Big Short and Flash Boys, the story
   of FTX's spectacular collapse and the
       enigmatic founder at its center.


 WHEN MICHAEL LEWIS FIRST MET HIM,
 Sam Bankman-Fried was crypto's Gatsby and,
 according to Forbes, the richest person in the
 world under 30. CEOs, celebrities, and leaders of
 small countries all vied for his time and cash
 after he catapulted, practically overnight, onto
 the Forbes billionaires list.
    Bankman-Fried's financial goal? Infinity dollars.
 As he told Lewis on a Berkeley Hills hike, he'd ear-
 marked the cash to solve earth's biggest existen-
 tial risks, like nuclear war, pandemics, and
artificial intelligence turning on mankind. On a
more modest level, he toyed with wiping out the
national debt of the Bahamas.
    Lewis hadn't imagined that this unkempt
billionaire would be his next subject. Instead, he
was meeting Bankman-Fried as a favor to a friend.
But by the end of their walk, Lewis was deeply
curious about ITX's founder. Who was this rum-
pled guy in cargo shorts and limp white socks,
whose eyes twitched across Zoom meetings as
he played video games on the side? Lewis decided
to find out. "I don't know what's going to happen
to you," Lewis said, "but I just want to watch."
    In Going Infinite, Lewis captures the psy-
chology of a figure who defines an era. For more
than a year, Lewis had unparalleled access to
Bankman-Fried. He was a fly on the wall during
Bankman-Fried's frenetic rise, watching him amass
a $22.5 billion fortune in record time. He also

           ! CONTINUED ON BACK FLAP!
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 34 of
                                      73




                       GOING
                      INFINITE
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 35 of
                                      73




                     Also By MICHAEL LEW1s


                               The Premonition
                                The Fifth Risk
                            The Undoing Project
                                 Flash Boys
                                 Boomerang
                                The Big Short
                                Home Game
                               The Blind Side
                                   Coach
                                Moneyball
                                   Next
                          The New New Thing
                                  Losers
                               Pacific Rift
                          The Money Culture
                              Liar's Poker


                   EDITED B y MICHAEL LEWIS

                                 Panic

                       AUDIBLE ORIGINALS

                           Playing to Win
                         The Coming Storm
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 36 of
                                      73




                 MICHAEL
                  LEWIS

                    GOING
                   INFINITE
               THE RISE AND FALL OF A
                            NEW TYCOON




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         Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 37 of
                                               73




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Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 38 of
                                      73




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Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 39 of
                                      73




       The infinite is nowhere to be found in reality, no matter what
       experiences, observations, and knowledge are appealed to. Can
       thought about things be so much different from th ings? Can
       thinking processes be so unlike the actual processes of things?
       In short, can thought be so far removed from reality?

                    -David Hilbert, German mathematician (1862-1943)
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 40 of
                                      73
                                    CONTENTS




                    Preface     xiii



                                          ACTI
                     1 YUP      3

                    2 THE SANTA CLAUS PROBLEM
                                                                   21
                    3   META GAMES • 38 .

                    4   THE MARCH OF PROGRESS                 58



                                          ACT II

                    5   HOW TO THINK ABOUT BOB                79

                    6   ARTIFICIAL LOVE           104

                    7 THE ORG CHART              135


                                          ACT Ill

                                                        169
                    8 THE DRAGON'S HOARD
                                                 193
                    9 THE VANISHING

                    10 MANFRED            211

                                                232
                    11 TRUTH SERUM


                        CODA        253


                                                255
                    Acknowledgments
se 1:23-md-03076-KMM DocumentART IF I C IA L L ov e
                              689-3     Entered on FLSD Docket 05/21/2024 Page 41
                                        73
                                                                                          11 S
                  anges themselves routinely lost th .
          e"'h                                      e1r customer '
           . 1 because of who Sam was, and how h                       s money. Impl
          s1b e                          .               e related to                    au-
                Jue bow to engage with ordinary pe 1 .                   People. 1-Ie h d
          no c                  .      .             op e in the wa            .          a
                needed    engaging   with, when you ran                  Y ordinary     peo-
          PIe                                              an exchan e
             ccessful exchange, you needed to attract                    g • To create a
         su                        .                         a crowd·
         re1ate to a mass audience. You needed customers. And           'you needed to
              Ill if they trusted you. And they only trust d           . you only got
         the                                                 e you If the k
               were or thought they did. Sam wasn't                  .       Y new who
         you                      .                         sure his own colle
        knew who he was, which was why he was writing memos to ex agues                • .
            Plus he'd already tried and failed to do it. Back in M               . P1am It.
                                                .                      ay 2018, m Berke-
        Jev. Sam had asked Gary Wang to wnte the code fo b. .
          ,,                                                    r a itcom exchange
        and within a month Gary had done it. CryptonBTC .                                   '
                                     .                            , it was called. They
       Put it out on the web Without any idea how to attract attention          .        .
                                                                                      to It.
       No one showed up to trade on it. It was as if it had n                h
                                                                        ever appened.
       The code Gary had written for the first exchange had been sweet, how-
     • ever. From the total nothingness that had been CryptonBTC, Sam had
        learned that if he asked Gary to create a crypto futures exchange, he
       could do it in a month, and it would be more reliable and less risky for
       its users than any existing exchange. Gary was a genius.
           In Hong Kong, Sam and his small team began to pitch the billion-
       aire founders of existing exchanges on the idea of paying Alameda
      Research (Gary) to create a crypto exchange, different in important
      ways from any that existed. Alameda would supply the technology;
      the existing exchanges would supply the customers, and the trust.
      The most likely buyer, and the person to whom Sam himself pitched
     the idea, was CZ.
         CZ was Changpeng Zhao, CEO of the crypto exchange ~inance.
      Bom Injiangsu
             • •                           • d , f rom adolescence.' m Can-
                        province, he was raise
      ada' and educated there, returning eventua11Y tO China' with Cana- .
      d'     •·                                      •    •0 bs on the frmges
       ian citizenship. He'd run through some ordmaryJ
      of h1• h                                   d 1 er at Bloomberg-
           g finance-including a stint as a eve op               . H 'd left
      be£                                       ffi    at OKCom.       e
         ore landing as the chief technology O cer                     t r he
     OI{c •                                    . 2017· two years 1a e '
           oin in 2015 and created Binance in          '              owerful
     \Vas be·                               . . s as "the most p
             ing described in industry pubhcauon
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 42 of
                                   GOING
                                      73 INFINITE
              196


                      accept them. In these woods, CZ was the biggest b
             wouId                                                .       ear
                  m seemed  to be going out of his way to poke him. Duba·     and
             Sa                                                                     •wasr1
             Houston with sheikhs. Sam's bid to turn CZ into a homeless fu _~Y,
                     nd to get back to him. And yet Sam didn't leave . guive
             ~s bou                                                     u~~
             0n  October  30  when   he returned to the Bahamas he  tweet  d at.
                             ' .                              .           e ajok
               bout CZ's inability to shape US crypto regulations. "Uh h . e
             a                       .   ::>"                          ' e is still
             allowed to go to DC, nght.
                Three days later, on .November 2, the crypto news site Co· D
                    ~ ~?:..-=-;-=-:~::::-::::~::-:~~~~~~-=-::..::=•n esk
              published an article about a curious document that appeared to have
              been leaked to them by someone inside Alameda Research , or per-
              haps someone who lent money to Alameda Research. It wasn't a for-
              mal balance sheet. There was no sign that it had been audited, or that
             it presented a complete picture of the contents of Alameda Research,
             or that it was even real. It listed $14.6 billion of assets and $8 billion
             of liabilities that were supposedly inside of Alameda Research as of
             June 30, 2022. What the CoinDesk piece wanted to highlight was that .
             more than a third of the assets were FTT, the token FTX had issued
             three years earlier.
                In and of itself the article struck people inside FTX as of no more
             than prurient interest.* Everyone noticed that one of its Jcontributors
             was the current girlfriend of Eric Manries, Carolin~ Ellison's former
             boyfriend at Jane Street. The previous month, the couple had vis-
             ited the Bahamas and stayed with employees of Alameda Research
             at Albany: Had the leak somehow originated ·inside the company?
             There was also the frisson that came with catching even a glimpse
             of the dragon's hoard. But the piece did not alarm or even surprise
             anyone at FTX . FTT was, in effect, equity in FTX-1t     • h adaclaimon
             the fi r st th'1rd ofFTX's revenues. FTX had generated a b·u·on
                                                                           1 1  dollars


             *E       . •               , •        •            •       •      r h the ForiJeS
                 ven mformed outsiders were not all that surprised. Steve Ehr ic .' h said to
             rep        h             ·              ·     •. •             "d that e
                 orter w O had been assigned to determine Sam's wealth, sai           e knew
             himself when h e saw t h e piece,
                                          .                           •
                                               Congratulations on knowing something
                                                                              . .    w
             two years ago:                                                   • •
ase 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 43
                                     73                            145
                 If-fulfi lling. The fact that w
      ''It wa5 5                                e took ab.
      ~at
              aused   it to  go up."                         •g Position was pa t f
                                                                                 ro
          There was more like this in Sam's d
                                                  ragon's lair Al
          overed up about half the existing FTT                  • ameda had also
      I10                                             tokens fo .
      . , g in effe ct, a second stake in FTX fo S             .' r Instance, creat-
      in ,                                         r am With
        ne-sixth of all FTX's revenues. In the            '.      a claim on about
      o                                             past eighteen
        rice had risen from roughly $3 to rou hl $                   months, FTT's
      P                                             g Y SO. Again •
      to say how much Sam could unload FTT £               h           ' it was hard
                                                      or, ad he tried tO II h'
      stake all at once. But the crypto lenders w           h                 se Is
                              .      .                ere appy to lend him .
      lions of dollars against his FTT, so, to get h • h d                       bll-
                     ·t                               IS an son cash, he didn't
      need to se11 1 .
        Then there was Sam's equity stake in FTX       h. h
                                                    , w IC was very real
      indeed. A large number of venture capitalists had paid $2.3 billion
      for a mere 6 percent of it. Sam had good reason to believe that he
      might now sell an even smaller piece for several billion more to an
      even bigger group. FTX underpinned his growing empire: a real
      business with booming revenues and profits. It hadn't even really
      needed venture capital. (As if to make the point, Sam, having taken
      $200 million from Sequoia Capital in exchange for a piece of FTX,
      turned around and invested $200 million from Alameda Research
      in one of Sequoia's funds.) FTX was now the world's fastest-growing
      crypto exchange, and t h e casino  • of ch01·ce for big professional trad-
                                        . h d           from O to 10 percent of all
      ers. In less than three years, 1t a gone
                                                     ate $1 billion in revenues.
      crypto trading. In 2021, it wou Id gener                            .       . 1
                                                 f     om  to grow.  Its biggest nva '
          And yet it still obviously had lots O ro              f FTX which meant
                                            d" g volume o             '
      Binance, had five times the tra Ill                          es and five times
                                           . es FTX's revenu
      that it likely had roughly five um              . d determine the present
                                             who tne to
      FTX's market value. The experts              .         mber on CZ's. No one
                                          1 utung a nu
      value of rich people had troub e p ctually owned. In 2021, Forbes
      was sure how muc h O f
                                  Binance CZ a                 .
                                                    , but neither am
                                                                    s nor anyone
      had listed CZ's wealth as less
                                       than Sam s,
                                                     Sam thought C mig
                                                                      z · ht be the
                                 d the numbers.                     ho supplied Sam
      else inside FTX believe             d CZ to the peop1e w            S . the
                                  rld An       '          b s looked at am m
       richest person in the wo •            When Fori e
         .                       ulnerab1e.
       With capital, seemed v
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 44 of
                                      73



                                    ARTIFICIAL LOVE                                   117



                  --_ced it, and
              c,cpi--        .    he seemed
                                          .     to. feel his way to his dec,s10ns.
                                                                            ••     Sam
                _i.r,nt the siZC of .the pie, while
                ...,...-                       .      CZ cared more about thes1zeof
                                                                                  •
         Jtiil"F°
             . ~  "'"'di was gunning to build an exchange £or b"
               t .....-
                     _j                                           • • •
                                                               •g msutuuonal
         d1ffl'u-  . ~Aers·• CZ was all about pitching
                                                  .    to retail and the i·tt1
                                                                          1 eguy.Sam

         ...,--                 . so was almost weirdly quick to forget gnevances;
         . .....d. _,,tiflict and                                           •      CZ
         ~ on confhct and nurtured the emotions that led to it CZ had
         • - .-1·plelt web of allies
                                   . and
                                       - enemies. In the pitch book he created to
         Jalll'cb :Binance bad< m 2017, much of what he listed as his qualifica-
         d01'5 for the taSk were social alliances with other crypto insiders. (Zane
          ~ among thetn• In a brief biography, CZ described Zane, oddly,
          in ,elation to himself, saying that to Zane he played the role of "mentor
          and goad friend,") Sam had no real social alliances at all. In his inter-
          acti"OS with CZ, bad he not u-otted out his learned facial expressions,
          he would have spent a lot of time staring blankly while CZ spake. "CZ
          sort ofjust says things." said Sam. "They aren't dumb. Theyaren't smart
          I didn't have much of a sense of him until he had to make decisions,"
             The first decision CZ had to make was whether to pay Sam the
           $40 million be was asking for his cleverly designed futureS exchange,
           After thi@ni it over for a tewweeks in Man:h 2019, CZ decided no-
           and thlebiEtt>ld his people to create a future" exchange on their own.
                   :..:a:i.c.;.;•~·- ·c 1< Sam~ such an ordinary and vaguely disaPPointing

                  ldild.<Jt;-.)"He's kind of a douche but not worse than a douche."
                                     Be ~ be a great chaf"Cter but he's noL"
                                         r c:z. turned him down did Sa11l decide to create an
                  IJR,s.t)tuJlllSClf- The idea was simple: the first crypto futures
                        diat was well enough designed that it would serve th_e needs
                         c to o le but alSO ofbig professional u-aders, Jti<.eJ3'.'e
                           O'P pe p                       · ..u r were going to build
                       . , Sam was deeply unea5Y a1><>ut tL ,.e         •       • " •
                          that is better (ha1l any product out there, he satd, If it
                                                         I h ht there was a better
              WO           -th billions of dollars,, but k t I'd
                                                              ougnever done markeung. •
              than ftftli peicent chance it wouldn t wor •             It was just differ•
               'd never ta,lked to media. I'd never had cuswmehrs.... rted grabbing
                                                       d   e ,, And so   e si.o-a
                   ent {tom anything that l' d ever on •. • k     hoW to do. people
                                                 .  he d1dn t now
                                               h
                   people who might do the t ,ngs
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 45 of
                                      73

                                       AR TIFICIAL LOVE                                 119




             d to fllake them feel comfortable with him-which at that moment
          a.fl         not "Sarn forgets how many people thought he
          weYwere          ·                                            was a scam-
                      st" said Ryan . ''You'd expect to find a Sam behind an       ,,
          Jller at fir '               .      .        .                    y scam.
             sam did have one thing gm~g for him, socially, with other crypto
                      The higher crypto pnces rose, the greater the flood • t
          peope· 1              .               .    .                          mo
          crypto of sober-minded people m smts that people like Zane found
          insufferable, Ryan might have counted as one such person, but Ryan
           was not sober-minded , so he got a pass. The Goldman guys and the
           venture capitalists and the corporate lawyers turned crypto bros-
           they were all part of th is invasion of conventional people who wanted
           to make fast money without the kookiness that had made the fast
            money possible. The pseuds would seek common ground with the
            original crypto religionists by exhibiting their excitement about the
            technology. The blockch ain! The blockchain is going to change ••• every-
            thing, they'd say, and hope that would suffice. A religion based on
            hating banks and government and any sort of institutional authority-
             well, for the pseuds, that was usually taking things too far.
                The crypto religionists, the people who had been drawn to the cause
             for their own reasons, had, at best, mixed feelings about the people
             who came to it later, and just for the money. About Sam, Ryan thought,
              they might be a bit more inclined to suspend judgment. Sam shared an
              important trait with the crypto religionists: a dissatisfaction with the
              world as he found it. He did not have any particular hostility toward
               governments or banks. He just thought grown-ups were pointless.
                 Ryan was less a grown-up than the highest expression of a new
                                                                               nd
               species, the crypto bro, that Sam sensed he needed on ha • He
               hired Ryan without being totally sure what Ryan would do. "The job
                 description was sort of make it all better." said
                                                                 d Ryan.
                                                                       to people but he also
                    To create a crypto exchange, Sam nee deThcryp mal old-fashioned
                                                                                  '    •
                 needed money to pay the crypto. people.      d fe nor •ly and' fnends,
                                                                                  .     or to
                 way. to  get it would be to go hat  m  han     to  amt
                                                      . . S didn't have any fnends      •
                  raise the money from venture cap1tahsts. amd"d 't know any venture
                                                                     1
                  with the kind of money he needed, and he dn to the same genera1
                                                                 1
                  capitalists. What he had was a token. It be onge
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 46 of
                                      73

                                            ARTIFICIAL LOVE
                                                                                                      121

                                                                     II

                        fl afl \asers and loud booming mu ic ' h e wrote •m h • •
                            d
           \\,or11e       d •but tbere was an odd microclimate th                          is Journal
                   J1v3r '                                                      at seemed to fi0 ll
           ,ll•       d as I wandered between the tables. It d"d ,                ow
             e arollfl                         .              t n t start to crystal
           1". uoO·1 I walked by CZ a few • • • limes and each t"ime he broke e •
           11ie
                   ~~·th his eye can dy and embraced me: peMile
                                                           ~~~~d• ye
           '°" lot. This was the fir t time CZ seemed more interested m• me thaoul
                   tJ
            115,             .   ,,                                                                    n
            I was iJlt of
                   ou
                       htlll•
                           thin air FTX minted three hundred fifty                        11• FfT
                                                                                        m1• 10n

            t 1{eOS- sarn offered a chunk
                                     .    of them to employees at five cents each,
             0  another chunk to im portant crypto people' like CZ, who might  •
            bedfriends of the exchange, at ten cents. CZ initially declined, as did
            30
                        t of FTX's own em ployees-Ryan Salame was a big exception-
             11105
             bot other outside investors bought up enough that Sam eventually
             raised the price, first to twenty cents and then to seventy. On July 29,
                 9, fTT was listed on FTX and thus offered to the general pub-
              201
              }ic. ("That was th e most nervous I'd ever seen Sam," said ishad.) It
              opened at $1 and traded up to $1.50. Inside two months, Ryan Salame
               had made thirty times his money, and the outside buyers had made
               fifteen times their money. Of the original three hundred fifty million
               tokens minted, FTX h ad sold roughly sixty million at about a dollar
               less than they were now worth. Within a week or so, Sam's doubl5
                                                              audien e had turned to
                about his ability to earn the trus
                                                           t bow cheap became clear
                regret for selling FTT way too              d offered to buy a 20 r-
                when, a few weeks later, CZ c
                 cent stake in FTX for $80 mil               built his house on an oil
              - Ir;:;s as if a wildcatter h                   a crypto exchange. He'd
                 field: Sam hadn't even reall               chance to make bets big-
                  built a casino that offerecl           ~seemingly no risk to the
                  ger than their bank acco                :was exactly what the crypto
                        world wanted. His timing,                 tal, was perfect, as big pro-
                        fessional traders like Jan                 wiJlg the crypto markets
                        and in need of a professi      M■t1C11~1,U'4~ exchange. Sam's choice
                         of location, also accidenta   .sftdfcCt to0: Hong          wasatmaybe
                                                                             Kongfeel
                                                                        uld both          ease.
                                                               d CZ
                         the only spot in the world where he an       wo




                                                                 ..... . . . v"9c;otl
1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page
                                 73
                    the thousands of other
                  1.,    d .                 crypto coin
                  .,-,Jan shilled to the public Th      s that h
                                               • e F'r}{         ad h
                             rtant feature of F'I7       token \v e~ t
         lecti\tely entided to toughly a third of::s that its ho: calJe(l~~
                                                   e annu         ers ~ • tt
         FTX exchange. Of the $1 billion in re~             al reven 'te           r h.

                                                  enues th          Ue8 '\JI,
         ated in 2021, for example, $333 million w          e exchan ()f th
                                                       ouId be           &'e        t
         back and burn" FTT. FIX would remove tok               set aside &e11,t.
                                                         ens fro            t() ~"-
         the same way that a public company bought b k . tn circular "11y
                                                         ac its sh            •011 •
         raise the value of all remaining shares. FTT wa            ares, and 111
                   .             .                        s not lllereI . th11s
        in FTX, 1t was stock 1n FTX-and even came w·th      1
                                                                     . Yhke st
                                                                Vottn . Ock
        certain decisions made inside the company. As it               g r1ghts 0
                                                               gave You              I\
        of the gross, rather than the net, it was arguably eve              a 8hare
               ...                                              n more v 1
        than th°e' stock. "The crypto peopfe would say, Why would           a Uable
                                                                       1
        equity? I'd rather just buy the token," said Sam. "The ve t Want Y0ur
                                                                    n Ure ca .
        ists would say, What's a token?"                                        P•tat.
          One hitch to the tokens was that they were illegal to sell in •ct
                                                                       s1 e the
        United States. The explosion of new crypto tokens had spawned
                                                                          a new
        game of cat and mouse, between token creators and securities regula-
        tors. The world's most aggressive securities regulator, the US Securi-
        ties and Exchange Commission, now devoted a meaningful amount of
        energy to arguing that a lot of these tokens were securities (which they
        obviously were), and so a threat to American investors, and banned
        from the US unless they first won SEC approval (which seemed highly
        unlikely). Crypto exchanges and token creators who wanted to sell
        to Americans insisted that these tokens weren't securities but more
        like, say, Starbucks Rewards points. As FfX was incorporated in Anti-
        gua, operated in Hong Kong, and in principle did not allow American
        investors to trade on its crypto exchange, and in principle did not sell
        its tokens to Americans, it was beyond the reach of the SEC.
        At any rate, the buyers of the FIT would either be foreigners, or
       Americans living outside the country. And now that was who $am was
       courting, in his own awkward way. Three weeks before uMmd FIT
       to the public, he flew to a conference in Taipei. Al
       players turned up at a party thrown by one of the b"
       And so, mechanically, did Sam. "Tonight was a nigh
ase 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 48
                                     73
                              ART IFIC IAL LOVE
                                                                                             121

                                 ers and loud booming music ,, h
                  afld 1as                          .      ' e wrote in h'18 •
           ,off'' "        "bUl there was an odd m1croclimate th                  Journal
         ,~         rd,                                              at seemed
            ftef'"a d s I wandere d between the tables. It d . ,                 to follow
         i:i     rotlfl a              CZ c            .            idn t start to c
          rlle a . walked by               a 1ew • •• times and    h •               rystal-
                  ottl 1                                        eac time he b
          }iie 1l        . th bis eye candy and embraced me: people           . roke eye
               tact w1                      .                          were thznkin ah
          cofl        ~his was the first time CZ seemed mo •                       g out
               a, [ot. .i                                       re mterested in me th
          1)5,       . f't\ ,,                                                               an
                ·o hb•~·
          l was 1 f thin air FTX minted three hundr d fi
             Olll o                                e     fty million ffi
                  SaJJl offere d a chunk of them to employ
          to1'ens,                  .                      ees at five cents each
                   thef chunk to impor tant crypto people lik C                   '
          and ano                                           ' e Z, who mi ht
               . nds of the exch ange, at ten cents. CZ initiallYdec1med
          be rie
                                                                      •        g
                                                                            as did
             f
          most of FTX's own. employees-Ryan Salame was a b'1g exceptmn-   ' •
           but other outside investors bought up enough that Sam eventually
           rat·sed the price, first to twenty cents and then to seven ty• On July 29
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           2019
           }ic. ("That was the m ost nervous I'd ever seen Sam," said ishad.) It
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            had made thirty times his money, and the outside buyers had made
             fifteen tim es their m oney. O f the original three hundred fifty million
             tokens minted , FTX h ad sold roughly sixty million at about a dollar
              less th an th ey were now worth. Within a week or so, Sam's doubts
              about h is ability to earn the trust of a mass audience bad turned to
               regret for selling FTT way too cheap. Just how cheap became clear
               when, a few weeks later, CZ called Sam and offered to buy a 20 per-
              cent stake in FTX for $80 million.
            -    It -;'as as if a wildcatter h ad accidentally built his house on an oil
              field: Sam hadn't even really wanted to run a crypto exchange. He'd
              built a casino that offered gamblers the chance to make bets big-
                                                  . 'fi d t mingly no risk to the
               ger than their bank accounts JUSU e · , a seexactly what the crypto
               casino or to the other gamblers, and'dit was   t 1ewas perfect, as big
                                                                                   • pro-
               world wanted. His timing, though acc1 en a ,. the crypto markets
               fessional traders like Jane Street were  f tentering
                                                              es exchange. Sarn,s cho 1·ce
                                                     d
                and in need of a professional-gra erfi u turtoo· Hong Kong was maybe
                of location, also accidental, was pe ec         • ld b th feel at ease.
                                                    h and CZ wou o
                                                h
                the only spot in the world w ere e
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 49 of
                                      73




               check out the place h
               prime minister. "5
                  sarn wasn't broke.
               meda Research was no lo
               borrow tens of millions of doll
               crypto lenders Jike Celsius and Gen
               ,neda Research collectively between $10 b •
               rates as Iowas 6 percent. The rate of return i
               steadily declining, but with access to vast amounts
               it raw rrading profits kept rising: from $50 million in
               rnitlion in 2019, to $1 billion in 2020 and again in 202)
               were ju t the trading profits; the numbers didn't in
               ingly va t unrealized gains on Sam's token stashes.
                  In March 2020, a Silicon Valley engineer named
               ovenko launched a new and better blockchain thatoffii1-c!JI..:
               to maybe Bitcoin' biggest weakness as a means of
               way too )ow. Bitcoin could only validate sew:n
               ond. The new Solana b]ockchain prornised to pro.-
               thousand ,ran actions a second. Sarn had no i n ~
               evaluate the thing, but he asked people who did and,,
               that Solana might be the crypto of the future. Even ifll
                na's story was good enough that other peoPle miglK
                and drive up the price of its token. Eighteen mo
                owned roughly 15 percent of all Solana tokens,··•ffibllPiil
                twenty-five cents apiece. The market price of Solana
                high as $249, a thousand-times increase on what Sam had
                the tokens. and the face value of Sam's entire stash was roughly
                billion. It was hard to know the resale value of such a huge stake. Bui
                there was a real market for Solana tokens. Two billion dollars' worth
               of the things traded each day. "I watched it in wonder," said Sam.
                  Solana was a microcosm of everything else Sam couched at that
               moment. It had a story that Sam amplified, by embracing the story.
               "It was the most complete proof we ever found of the hypothesis that
               we could have an insanely large edge on things like this," he said.
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 50 o
                                      73

                                                 THE ORG CHART                                            1
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                                     f )filling. The fact that we took ab"
                             5 sel f- u               ,,                    ig position
                  , ,, ,.~           d it to go up.                                       Was part of
                          t c.J use               .k h " . S
                  \,-11~                 rnore h e t ts m am's dragon' 1 .
                           I1ere wa 5                                   s air. Ala d
                       'f       d p a bout half the existing FIT tok                _me a had also
                         ,•ere u                              .           ens, for tn t
                 110°            fc. c t a second stake m FTX for Sam .                  ance, creat-
                          1·o e ie ,                                      • Wtth a cl .
                 i,,g. . h of all FTX 's revenues. In the past ei h                    aim on about
                       e-si>'t                                             g teen month "C"'1"'T>
                0J1              d risen fro m roughly $3 to roughly                 .      s, • 1 .l's
                     1·ce ha                                               80• Again 1·t
                pr           how much Sam could unload fTT for had h . ' was hard
                to say                              h                   ,        e tned to sell h"
                              11 a t once. But t e crypto lenders were h                             1s
               st.Jke a                       .        .                     appy to lend him b"I   1-
                             f dollars agamst his FIT, so, to get his ha d
               Jjo ns o               .                                     n son cash, he didn't
                       d to sell 1t.
               nee                              S ,            .
                    Then there was ams equity stake in FTX h' h
                                                                            , w ic was very real
              . d ed A large numbe r of venture capitalists h d .d
              ,n e •                                    .                     a pa, 2.3 billion
              c. a mere 6 percent of 1t. Sam had good reason t b .
             ,or                                                                 o e11eve that he
                  ·ght now sell an even smaller piece for several b"ll'
             rnt                                                                I ton more to an
                ven bigger group. FTX underpinned his growing                             .
             e                                    .                                 empire: a real
             business with boommg revenues and profits It had 't
                                                .           .             •         n even really
             needed venture capital. (As 1f to make the point, Sam h .                           k
                                      .                   .                          , avmg ta en
             $200 million from Sequoia Capital in exchange for a piece of FTX
             turned around and inve ted $200 million from Alameda Researc~
             in one of Sequoia's funds.) FTX was now the world's fastest-growing
             crypto exchange, and the casino of choice for big professional trad-
             ers. In less than three years, it had gone from 0 to 10 percent of all
             crypto trading. I n 2021, it would ge nerate $1 billion in revenues.
               And yet it still obviously h ad lot of room to grow. Its biggest rival,
             Binance, had five time the trading volume of FTX, which meant
             that it likely had roughly five times FTX's revenues and five times
            FTX's market value. T h e exper ts who tried to determine the present
            value of rich people had trouble putting a number on CZ's. No one
            was sure how much of Bina n ce CZ actually owned. In 2021, Forbes
            had listed CZ's wealth as less tha n Sam's, but neither Sam nor anyone
            e lse inside FTX b e lieved th e n umbers. Sam thought CZ might be the
            richest person in the world . And CZ, to the people who supplied Sam
            with capital, seemed vulnerable. When Forbes looked at Sam in the




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Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 51 of
                                      73


                      146



                     fall of 2021, they saw the richest
                     thirty. When the VCs looked at
                     soon replace CZ as the richest pe
                       All of that explained what Sam was about t.o
                    and what would later feel a lot harder to         .
                                                                     1 or
                                                                  expain
                    He set out to establish FTX as the world's
                                                             most Tegulat-,
                    abiding, most rule-following crypto excha       ....,   -...,
                                                             nge. i o acqu·
                 licenses to allow him to operate legally and O           .   ire aa.
                                                                pen1Ym asni
                 tries as he could. To make a bet on the rule of 1           . any
                                                                   aw shap1n th
                less crypto markets. By the end of 2021 16 pe                  g e la.,,
                                                           ,      rcent of Ani .
                claimed to have dabbled in crypto. Across Asia th                 encan,
                .        .                                                e numbers
                likely bigger. It was only a matter of time, Sam thought b            ~
                                                                            , efore regu.
               lators engaged with crypto and banished the unlicensed h
                                              .     .                         exc anges,
                   The strategy was something like the opposite of Binanc , ur1..
                                                                               es. ,,nen
               FTX launched, in May 2019, Binance was merely one ofa handful of
              crypto exchanges with roughly the same market share, of roughly 10
              percent. One of those, BitMEX, soon ran afoul of the US Department
              ofJustice, for "willfully failing to establish, implement and maintain
             an an ti-money laundering program," and its founders, two American
             and one British, were variously fined, given probation, and placed
            under house arrest. Two other exchanges, OKEx and Huobi, report-
            edly watched executives being hauled off by the Chinese police, and
           saw their assets frozen. CZ had left China three years earlier, in late
           2017, before that year's government c.r:_ackdown, one ofseveral before
           and after. He'd landed first in Singapore but finally settled in J)ubai,
          which, among its charms, fhad no extradition trea        ith the     •
                                     '5
          States. Which was useful, CZ's first response to 11
          ulations was often to ignore them, and count o
          lack the nerve or the resou ces to tak
             That had been the smart thin

         It offered financial pr:
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 52 of
                                      73

                                                    T HE ORG CHA R T

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                                of the e n terp rise. You could mak
                       venues                                        e a reason bl
                    re b·tcoin wasn 't a secur ity a nd the Co                .       a e argument
                    tnat i                         .                mmod1ty Futur                    .
                             ission h a d m ade 1t, and d eclared it                      es Trading
                    cornJTl                                          a commodity Th
                         . Har argume nt to make for BNB or FTT                          • ere was
                   110 s1JJ1                                              . They'd b
                          old to investors to ra ise mo ney for p fi                . een created
                   an d s                                            ro t-makm
                             aid divide nds to th eir owners in the fi                 g enterprises.
                   TneY P                                     '       orm oflower fees
                        hange a nd th e buyback-a nd-burn agree                                 on the
                   e,cc                 .                . ,        ments. There was no d
                     . •on of a secunty that th ey d1dn t meet If               .                   efi-
                  J11U                       .  .                 • you tned to sell th
                 AJTlerican investo rs ms1de the United States .t                  h        . em to
                               . .      d E h          C     . .      , I was ard to imagine
                  the Secunttes a n          xc ange ommISsion simply tu .                   .
                                                                                  rnmg a blind eye
                 And yet Binance sold BN B-and much else- t Am .                                . . •
                                                     .                      o        encans ms1de
                 the Unite d States. In th e 1mmortal words texted b 8 .                       , .
                                                                                   Y mance s chief
                 complian ce officer to . .
                                            a colleague in 2018: "we are op
                                                          .
                                                                                     .
                                                                               eratmg as a fkmg
                                                                                                  .
                unlicen sed secunt1es exch ange m the USA bro"          • (Ti..:_
                                                                               ,wand o th er s1m- .
                ilar morsels turne d up in a lawsu it filed by the SEC aga·1nst 8 mance      .
                fi ve years after the fact, in j une 2023.)
                    In the ir willingness to cou rt the wrath of US financial regulators,
                the crypto exch a n ges fell into one of at least four categories. A small
               group of tiny U S exch anges listed only bitcoin and ether, the two
               oldest coins, blessed by th e SEC as commodities and openly regu-
               lated by the CFT C. (A bit o ddly, the older the coin, the more people
               thoug ht o f it as a comm odity.) ITX's new US exchange listed those
               two coins, plus m ayb e eighteen other, newer ones, none of which
              h a d the most obvious p roperties of a security. one of them had
              buyback-and-b u rn feat u res, for example, or were solely intended to
              r a ise money for som e for-profit enterprise. Coinbase, the exchange
              th a t ser viced t h e g reatest n u mber of US customers, appeared willing
              to ta ke more regulatory risk. It listed roughly five hundred coins,
             .         .                                                      l ·ewed as securities, and
             m cludmg some th at the SEC pretty c1ear Yvi
                                                                                   't' • e the regulators
             its C EO , Br ia n Armstrong, took to Twitter to en iciz                                .
                                                             . lfh d o exchange token akm to
             fo r "sketch y b eh avior." C__,~o~in~b~a:s:e; •:ts:e~ =a~ n:;:;;;;;-no";;itiionofusingifs-:=:-
                                           -                                 brazen pos1t1on of usmg its  -
             FTT h owever and so wasn"t IIl the moS t                                    , -- 0 1
             ~- '             _:_ -       -·- -
             exch ange to sell its own unregulate sec
                                                                 d urities to US investors. n y
          --ifinan ce 1 t hat, with ~B.
                                                    - - ·------
                                                                    ,.,.,·          S      - ·nvestors on
                                                            • 10   . 1.t elf to U reta1 11
          - - -S etli ng-wh at were in effect shares                       s




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Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 53 o
                                      73


               148


               its own new US crypto exchange,
               finger to the US regulators. In the
              incredibly. When Binance fo
              tember 2019, the market capo
              fall of 2021, it topped $100 b.
              by demand from US inve~tors was
              anyway: $20 biI1ion. The tre of US regulators seem
              son, a small price to pay.

              Which is why, when Sam took in the situation, he deci
              Binance's strategy was unsustainable. That the smart thing to do
              to be the world's most Jaw-abiding and regulator-loving ex~
              FTX could use the law, and the regul~tors,. to drive crypto trading
              from Binance and onto FTX. If countries did not yet have the 1
              a small army of FTX lawyers would help them to create them. In the
                                                                                  -.
              country that mattered most-the one country whose financial regu-
               lators chased people outside of their borders, and enforced its ruJes
              around the globe-Sam would personally take the lead. He'd set ow
               to persuade the United States government to regulate crypto and
              punish those who violated the new rules, leaving FTX alone as a kind
              of teacher's pet of crypto. (Maybe the best thing about the Bah
              from Sam's point of view, was how close it was to the United States.)
                  The US was now, in Sam's mind, the holy grail. It had an incwm
              bent crypto exchange, Coi nbase. But Coinbase's CEO had already
              written insulting tweets about the SEC. And Coinbase, compared to
              ITX, was a boring and bloated casino. It had fifteen times the num-
              ber of employees FI'X did, and only about a fifth of FfX's volume.
              Charging retail investors fees between five and fifty times what FfX
              charge~, it was still running big losses. Even so, it was a public com·
              pany, with a market capitalization of more than $75 billion. If FTX ,
              was g~nted a license to offer crypto futures in the United States and
              was given full access to US mvestors,
                                           •          • might steal Coinbase's cus-
                                                     it
              tomers, along with its market cap. Or so Sam thought-which is why


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23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Pa
                               73
                                       THE ORG CHART
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                           ht that the license might double or even tripl FTX'
                   thoug                                                 e    s
      Ii   eaIsO
               ernight.
               0
      valtle " h could do any of this, he needed to get rid of CZ CZ
         sefore e           .                                     •
        . owned the stake m FTX th~t he had bought in late 2019 for
      sutl .11 . n Relations between Bmance and FTX had since d t .
       ,80 rn1 10 •      .              .                       e eno-
      $ . simmering resentment. Bmance was the class bull FTX
            ~1nW                                                             ~
       r;e class nerd, and each took pleasure in using its special powers to
       t       t the other. The Binance futures launch was a case in po· t
       torrnen             .     .                                     m.
       It had taken the Bmance mte~nal team three months longer to ere-
             heir crypto futures trading platform than it had taken Gary
       ate t                                                            ,
       working by himself, to create FTX's. Once it was up and running,
           it attracted little interest. Or, rather, as Sam instantly noticed, what
           trading there was in Binance's new futures contract was fishy: instead
           of the spasmodic flows of naturally occurring market activity, there
           was a regular tick, tick, tick of trades. He guessed that Binance had
           created bots to trade its new contract with itself, to create the illusion
           of activity.
              Wash trading, as it was called, would have been illegal on a reg-
           ulated US exchange, though the sight of it did not bother Sam all
            that much. He thought it was sort of funny just how brazenly many
            of the Asian exchanges did it. In the summer of 2019, FTX created
            and published a daily analysis of the activity on other exchanges. It
            estimated that 80 percent or more of the volume on the second- and
            third-tier exchanges, and 30 percent of the volume on the top few
             exchanges, was fake. Soon after FTX published its first analysis of
             crypto trading activity, one exchange called and said, We're firing our
             wash trading team. Give us a week and the volumes will be real. The top
              exchanges expressed relief, and gratitude for the analysis, as, until
              then, lots of people assumed that far more than 30 percent of their
             volume was fake.
                Sam was less surprised that Binance was wash trading than by how
             badly they were doing it. "They were doing a B-minus job at market
              manipulation," he said. One Binance bot would make a wide market




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Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 55 of
       150
                                      73


      in Bitcoin futures, and another Dinan
      high offer. I£, to keep the numbers s
                                            ·~~~!..~
      was $100, the first Binance bot wouJ
      at $102. No normal trader would
      $98 or buy £or $102 on Binance wh              lttdbeitb~
                                                          bu ........._..
      other exchange £or $100? But then, at reguJar. an
     vals, the second Binance bot would enter the ma .,_
                                                                  rAeta-n
     It looked as i£ a trade had occurred between two diffi
          • h a d n ' t. I twas s1mp
     b ut 1t                     •  I y B 1nance
                                          •      b uying
                                                     ·   from Bin  e rent -- ~,....
                                                                 ance.
        Sam loved this sort of thing: it wasJane Street tradin all
                                                                      g     O\'er-lgai
     In response, he had his traders at Alameda Research build th .                  n.
     faster bots. Alameda's bots inserted o££ers a tiny bit cheaper ~
                                                                    oWn,
    offers from Binance bots. The Binance bot would o££er to seU a· ~
                                                                a 1tco1n
    future at $102, and, moments before the s~cond Binance bot shOlved
     up to buy, the Alameda bot would Jeap 1n and offer it at $1o _ _
                                                                         1 95
    Instead of buying bitcoi n £rom i tse1£ at an inflated price, Binance lVa3
    buying it from Alameda Research at a price nearly as high.
       Selling to Binance bots £or $101.95 what they could buy elsewhere
    at $100 was found money for Alameda. But then the futures team
    inside Binance began to notice that their wash trading was losing
    money-and complained to CZ. That they h adn't told CZ the Eull
    story, or that they had not fu lly grasped what had happened, was evi-
    dent in CZ's confusing response:


          1;:t -. . CZ Binance 0                         (   Follow
         . . @cz_ blnance
           t
           k    A market maker from a smaller futures
                exchange tried to attack @binance
               futures platform. NO ONE was
               liquidated, as we use the index price (not
               futures prices) for liquidations (our
               innovation). Only the attacker lost a
               bunch of money, and that was that.
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 56 of
                                      73
                                                          THE ORG CHART
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                         ->~-~
                         ~ ~t,1nance
                                       ~lnance •                                    (___ Follow '
                                                                                      ----/
                                                                                                    v


                                  The attacker is a well-known account
                    ..            that trades with @binance, and started
                                  their own futures exchange a few
                   !
                                  months ago. This was the 2nd attempt
                   I              they tried. Shame!
                                  7:10 PM - 15 5ep 2019




               "It was very Chinese n ot j ust calling me up a nd saying, 'Hey, can
               u stop?'" said Sam. After that h e ' d called Binance's chief financial
            ;fleer, Wei Zhou. It was a weir d conversation-the CEO of one crypto
            exchange calling the CFO of another to inform him that, if he didn't
           want to Jose money on his n ew futures contract, he'd need to improve
           his market manipulation. Wei Zhou spoke to CZ, who called Sam for
           a brief though not u nfriendly chat, after which Sam concluded that
           CZ still had not been to ld by his traders what had actua lly happened .
           Whatever he'd been told led him to tweet a retraction that didn't
           make much more sense than what he'd originally written:

               .       ,- -   -
                   ( S , CZ Binance e                                       (      Follow   ~   v
             I ~ @cz_blnance
                          Had a chat with the client. It was an
                          accident, due to a bad parameter on
                          their side. Not intentional. All good now.
                          8:55 PM - 15 Sep 2019




            In the first eighteen m onths of ITX's existence, there had been
         several other dustups with Binance of this sort. CZ developed what
         three of his employees a t the time described as an obsession with his
         new rival. He'd ask staff for regular reports about ITX, and speak
         of FrX in ways h e wo uld n ot of the other exchanges. "CZ is super




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                                                              WWNOATON.coH              COMPANY
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 57 of
                                      73



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                                                                GO I NG I NF /NfTE


                            astute," said one. "He'll n ever talk ab
                                         .                                out any exch
                           free marketing. But FTX worr ied him F                         angc. If
                                                                            • r orn 2019          cth·
                           of FTX. He thought FTX was the only                             0 n, he 1%
                                     .     .                                  real thre           on/ , t,
                     .... A threat 1n which he was, weirdI the                          at to his 1!p,,i
                       - ~- ~- -- -- - -- ------;.:;,;..;:;:.:L,!.,'..::!:._:s~e~co~
                                                                                   nd-/ar         ~i .
                 (        after Sam.                                                       est sh lio:l'
                j ~=--     By the middle of 2021, Sam saw that he
                •                                                                     00~
                ~- regulators and at the sam e time have cz as a b' . noc Sl\·eei.
                                                 ,                            ig IJlve510 4~
                     wanted to be the teachers p et, you couldn't s·t .                   r.,r
                                   .              .                      I m the b            J~
                    classroom with the badass 1n the leatherjacket. Th fi ack oflh
                                                                             e rstth·          ~
                    regulator asked for was a list of your investors, and              ingeien
                                                 .                           persona/
                   about them. "They were ask mg CZ wh at his family sit . de~4
                                .             . ,               "             uat,on was         /
                   where he lives, and CZ d1dn t want lO say, said one for             . alld
                                                                               mer Bman
                  employee. In the end, Sam told CZ that he wanted to buy h' ct
                  of his FTX shares. For the stake he'd paid $80 million to IJn.o01
                                                                                   acquire
                  CZ demanded $2.2 billion. Sam agreed to pay it. Just befo                 '
                                                                                    re thei

               I signed the deal, CZ insisted, for no particular reason on an •
                                                                           '         extra
                 $75 mi11io11 . Sam paid that, too. l-Vhatever g ratitude CZ felt abou,
              / his two-billion-dollar windfall h e hid. "From then it was a cold
              I war," said Sam.:.~---
      --
           --~----
              1         - -
              The buyou t of CZ occurred again t a backdrop of the bigger pub-
                lic relations assault. Sam was n ow a regular on television and had
                  appeared on the cover of Forbes magazine. H e stj// h ad no idea how
                  to c r eate a brand, a nd, as e,·er, zero interest in exp ert opinion about
                 how to d o it. H e d ecided to figure it o ut fro m scratch, by tallung
                it over internally, hurling some m o n ey around, a nd seei                t
                worked. With one hand h e was h anding CZ $2.275 billion;
               othe r h e was writing m em os Lo p e ople inside FTX in which
               n a te d , as might a Martian, on what ca used o rdinary Am ·
              like a nd trus t a produc t. "¼'e'rc c urre ntly a h ead in tech a ,
              bility ratings, a nd behind in n a m e recognitio n ," h e wro te.
             to get 50m low e ngag em ent users Lo d e cide to switch fro m
            to FTX. Tliis w ill take a fairly force ful nudg e!"
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 58 of
                                      73



                                         THE ORG C H AR T                            153


                        ,.   b y noting h o w few marketing ca         •
             fl C bCg 0 ~
                   •-a t he hoped to achieve with FfX's H
                                                          mpa,gns had
                                                                      had the
           effe< t '"                                         •   • counl<d only tht<e:

                      yes .,.;e can : Ba rack Obama
                }s-.. Just d o it: Nike. Lots
                                           • . of• athletes but there arc two who made
                0
                       the brand what it is: M1chaelj ordan and Ti1gerWoods
                 . -rnink different: Apple- Albert Einstein.John Lennon
                3 tALL           msaldiAH..Rota Parks, Gandhi. Alfred •


                                                    ....&-, young and male, and so it
                                     was overwbelm:-1v
                                  to use sports celebrities to win their love and trust.

            ., , ,,..eD ,.;thin the narrow
            ,.                            . world of sports• what peopl• pa,.d atten-
               11 to strUCk Saro as aro,uary. For example. in the Unilffl Swes
            tion
            .,...-yon• ]uleW and cared about the names of the companies on thei;
               ~iulll•• but no one ltncW or cared about the names of the com-
             5panies on their players' jerseys. There was no rule of human behaY-
              ior thlll made this so: in Europe e,-e11-one knew and cared about the
              naJ1le5 on th• players' jersey> but not about the corporation the ,...
              diul11 was na111ed for. Tbere was no moment at which AmericaDS had
              agreed on the i111p<>rtan<" of the ,wlium Sf"'nson: it had just some-
              -     ~ •And once ~ agrees on what mauen, it gets
                  Th• iDlli»
                        • said.......
               re1:ld~!.it     SalD- wariJ1eSS of aypto money made it a bit (rickier
               thall it o thenria" _..td """' t,ec:n to buy th• naming righl5 for a
                professional sp<>IU arena- FTX tried and failed ID •Po"'°' the sta-
                          d by the KanOS CitY c;biefs and the ,::w ()rleaDS Saints.
                              ~ - the MiaJlli Heat ,eached out ID them to
                                   buy their oamiog rights. for 155 million for the
                                  ~~s, Salll JeaPlal t h e ~ Thal thecleal required
                                    t,jull of the NBA- i,ut ab<> of the J,lialll~Dad< Bc,aJd
                                  ~,..."_._··· ·onen. a s-<"tneD' t,ody, was• l,ollUS. Aft£'
                                      a ~· to a ~ e n • entity that had l,less<d fTll.




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Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 59 of
                                      73

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                       least $8 billion belonging to crypto trad
                              . .                               ers, and
                      sound inside FTX, had wound up instead . . meant to
                                                                   lns1d J\             ~
                     What had become of the $8 billion was                e lacner1~ ~
                                          .                         not enr ~~ -,
                     wasn't good. Natalie had wept when she'd                lteJy cJ ' ~ n
                                                                    1earned            t'ar b. 'f/,
                    it, "there was a button on FTX. Alameda c                  that, • !Ji
                                                                  ou 1d talc          q Slit -
                    wanted to." Like most FTX employees, she'd k            e lvhattt ~
                                      •               .               ept her           ~ l'i~ .
                   exchange. Now it was ~l gone. Like most FTX e                llJon~.          -
                          ' b      1· •     ..,_ _ Al                  llJpl0ye           °'1 ,l
                   if she d een mng a uaecuu. ready the dream                    ea, sJit ~..,
                  and requiring effort to recall. Could it really be t 1Vas gr<>lviog ¾a,
                                 .
                  next-door neighbors       •
                                         With Vmce Caner?:
                                                                       rue that she'd ,
                     Between Sunday and Wednesday, the inner .
                 altruists had been holed up in Sam~ sleeping qu::: O f '
                failing to saw! the company. Natalie now had only            ' fl);n, __,
                                                                       a vague
                their whereabouts or states of mind. On Wednesday, Geo SCnstct
                had determined tliat Nishad was a suicide risk and arra J i e '
                                                                                  ngedfor1.:_
                co be escorted out of the country and to his parent.s . ~-- ·11111
                                                                          ,UJU41Jfi
               cisco. As rhe company collapsed, Caroline had been tral....1. . ta,..
                                                                            '"·mg m~
               and had remained there in an odd mood. She struck he
                                                                               r JJSrch;.
              trisl, and other to whom . he had poken, as somewhere betwttli
              relieved and happy. lle too wa now rumored lo be h eading hack
             to her parents' h o u e, in the B o to n area. Gary was as silent as n-rr
             and impos ible to read buc apparently still around. And Sam-~•eU
             Natalie didn ·r kno w wl1a l, if anythin g, Sam was acwal/y feeling, or'
             even where he was. Tracking Sa m was no longer herjob.
               The road from the airporc to tlJe Albany resort passed FTX's
            offices. Natalie was uneasy about me try ing co see them. She feared
            they might contain the people repossc sing the company cars. Still,
             as we approached, we slmved. The g uard booth was empty. The bar-
            rier was down but blocked as l iLLle of the r oad as ever. There was no
            sign of life on L11e field of a phaJr; the cars were gone; t/Je jungle
           huts seemed entirely abandoned. Then, o n t /Je far side of the Jor, a
           figure rounde d a JJut and came imo foc us. IL was Sam, all by himself,
          in a bright red T- hirt and h ons. lVa /king circles arou nd his former
          empire. fa,e n a t a distance, you could t el1 he could use a shower and
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 60 of
                                      73

                                               THE VA N ISHING
                                                                                                195

                            t.Je walke d ove r a nd clim bed into the             .
                  11ave  .  ri                                           car, as     ,r
                                                                                     he'd b
             a5         • g u s. H e needed a ride home, which of                      .     een
                   e c un                                                  course raised h
             e~P .0 n of how, a nd why, h e 'd c o me to be here in th c.                    t e
               L1esu                    ,    .         .                      e 11rst place
            q              kno w wha t s we ird to t hm k about?" he 5 .d                  •
                 ..You                                                    a, , as we left th
                       b e hind ...S a turday. S aturday everyth i ng was normal."            e
            0 f{i ce


                  .d iny b e st to r e c onstru ct what had h appened th                   .
              J d1                            .   .                               e previous few
                    s b e fore r econ s 1d enng w h at h ad h appened th                  .
             '"eek ,                                                             e previous few
                  rs T h e r e'd b een a n oth e r d u s tup between Sam and CZ h
             yea •                                                                     t ac, when
             . 1 a p p e n e d h a d no t seem ed a JJ t h at importan t I n late O      b
             1t 1             '                                          •           cto er, Sam
            I1ad flow n to the Midd le East to rai se money and, in the bargam,            .
                                                                                             find
            a seco   n d  h o m e , i n t h e Eastern H emisph  ere• for FTX  • On  th        .
                                                                                       e evenmg
            o f October 24 , 2022, h e b umped into CZ at a conference in Riyadh. It
           was the first time i n n early th ree years they'd been in the same ro om.
           They'd h a d a brief, awkward chat, on ly because it took Jess effort
           than n o t h avi n g it. "It was a five-m in ute conversation in which no real
           informatio n was e xchan ged," said Sam. "It was like fake nice. We dis-
           pensed w it h o ur o bligation to acknowledge we were both there." The
          next day, S am h ad flown to D ubai to meet with its financial regula-
          tors. T h e reg u la tors at t h e ti me hop ed that FTX might make Dubai
          its Eastern H e misphe r e h eadqu aners. Sam later wrote up the mes-
          sa g e h e ' d trie d to convey to th em. "I love Dubai," he a id.

               But we can't be in the same place as Binance.... This is for two
              reasons: first they are constantly devoting significant company
              resources to trying to h urt us; and second that I.hey soil the rep-
              utation of wherever they are. I can't emphasize this enough:
              in g e n e ra l I hear great th ings from other jurisdictions/ regu-
              lators e tc . about Dubai and the UAE [United Arab Emirates],
              except t h a t th e re' a constant refra in of: that's thejurisdichon that
              a ccepted Bina nee, and so we don't trust their standards.              ___.,

           (t was unclear to Sam, if Dubai decided to rid itself 0 ~ ~Z and ~is
         exch a nge, whe ther any coun try .in w h ic
                                                   ' h CZ wou Jd be w1lhng to hve




                                                            u
                                               W. W. NORTON & COMPANY
                                               -   HO•TOH. C:ON
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 61 of
                                      73




                                       THE VANISHING                                  197



          i    re•.,e<>uc
                     •·   in 2021 and, even with crypto p r·,ccs cruhi

              ~
                 o it again in 2022. Sam's biggest regret                   ng, was about
          ,o
           O                                                     • Cltpresscd
               d the ,noment the pcice of FIT h ad r oc.ctcd
          f rO""                                                ,.     back ia,q,eatcdly
                                                                                 20
            "' t he'd created
          ,,.a              .   . and
                                    . sold it in the first p lacc• E.er smce,
                                                                          •     he'dl9, wa
          , .,. ,,,,ning ,t up ,ns,de of Alameda ReocaTCh.                            been
                                                         ,        poste a tweet \0 his 7.3
              0on sunday morning, November 6                 cz        d
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 62 of
                                      73

                       198                                   GO I NG I NF I N IT E



                     ame watched it, however, as by then Sam w b
                                                              as ack .
                     to play the end of another game.                10 the Bah
                                                         .   .                                 ani-¼
                        The run on FTX was 1n 1ts own way spectacular. T         '
                     $15 billion in customer dep osits on the exch • here had be
                                                                                     ange. o     en
                  meant to be that amount, h eld in either fiat curre             r there lvas
                                                                        ncy or bite .
                  ether. On a normal day, $50 million or so either                . o,n and
                                                                         came Into
                 the exchange. Each day between November 1 and No                      or left
                                               .           .               vernber 5 S
                 million fled. By late Sunday nigh t, the sixth, $100 milJi           ' 20o
                                                                            on was/ea .
                every hour. FTX customers withdrew $2 billion that da                   vmg
                                                 . .                          y, and then
                tried to withdraw another $4 billion on Monday. By Tuesd
                                        .                                        ay morn.
               ing $5 billion had exited, and the exchange was clearly n r .
                   '                                                             0 going
               to be able to come up with enough cash to pay the swelling
                                                                                    nu,n.
               ber of customers who wanted their money back. It didn't formally
              shut down withdrawals, but it more or less stopped actually sending
              money back to the customers.
                Even more interesting than the speed of the event were its inciting
             incidents. CZ's tweet had obviously been the first, but it wasn't the
            last, or maybe even the most important. Caroline had responded to
            CZ on Sunday morning.


                          uroline
                          @carolinecapital
                 •

                @cz_binance if you 're looking to minimize the market impact
               on your FTT sales, Alameda will happily buy it all from you
               today at $22!
               4:03 PM • Nov 6, 2022 • Twitter Web App




           The tone-the peppy simplicity tha t o bvio usly m aske d som e other
         motive-sounded a lot like Sa m. Caroline h ad actually written it.
                                                                                               I
         Neither she nor Sa m expected CZ to accept the d ea l. CZ wanted LO
        maximize the da m age to ITX, a nd so would string o u t che Lrncer-
        tainty for as lon g as possible. The h op e was that a concrete offer LO
        buy at         • pnce
                            • would shut him • up and calm the market.
               a certain
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 63 of
                                      73
                                            THE VANISHING
                                                                                                    199

                 d .d the opposite. A risk analysis comp
              It •     .            .                      any called Gauntle
              . h studied the pnce movements of variou                           t,
          ,\•htC                •                           s crypto tokens h d
                b the best picture of what actually ha                      ' a
          rnaY e                      . ,                  ppened next. Within
                 ty seconds of Caroline s tweet came a ru h
          o\'en                                           s to sell FTT by s
                  rs who had borrowed money to b uy it Th            .        pec-
          ola to            .     .                     •     e panic was driven
                n assumption: 1f Alameda Research the •             b"
          by a                .        .             '      sing1e iggest owner
            f FTT, was making a big show of being willing t O b                _
          o                                                         uy a huge ptle
              it for $22, they must n eed for some reason to      .    .
          of                                                   maintain the mar-
          ket price at $22. The most plausible explanation was that A lameda
          R esearch was u sin g FTT as collateral to borrow doll ars or b 1tcoin
                                                                            " .
          from others. "You don't tell someone a price level like $22 unless
          you have a lot of confidence that you need that price," the CEO of
          Gauntlet, Tarun C h itra, told Bloomberg ews. By Monday night,
           the price of FTT had fallen from $22 to $7. The half a billion do  u-
           lars of his own mon~y that CZ h a ~ ~lected to incinerate was, in the
           grand scheme of thi ngs , such a tnv1al sum that hardly anyone paid
           it any more attention .
              By Tuesday, the relevant math was fourth-grade level. Before the
           crisis, FTX was m eant to be holding ab out $15 billion worth of cus-
           tomer deposits.* Five billion of that had already been paid out to
           customers, and so, still inside FTX, there should have been roughly
           $10 billio n . There wasn't. The only remaining assets were whatever
           was left of t he dragon's hoard inside of Alameda: a big pile of ITT,
           another big pile of Solana tokens, an assortment of crypto tokens
            that would be even harder to seII , $300 million worth of Baha-     .
                          t t and a truly massive.   heap  of Sam's  venture capital
            mas real es a e,                           .       h " h Sam had never
                             .
            investm ents-1nclu  d mg
                                  "   t h e stake in Twitter, w ic


                                                                .       was a futures exchange, and so
                                     .          h only a tiny bit. FTX                   · would not be
            * I'm simplifying this, thoug to make bets. At a ny given momehnt, tdt But its chief
                               •      ustomers                           d . ly on an •
            it lent money to its c        .     ustomers' money imme iate             aluate the gambles
                            h     a ll of its c                      b tter way to ev
            expected to ave             19       that it had found a e          . l1ould not have been
                       .       k • 20 was                         .   d And so 1t s
            selli ng poi nt bac in           .        oney· and it ha •
                                    whom it lent m          '
            of the customers to          . I ,s to customers.
                                 f O m 1ts oa1
            expose d to losses r




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                                                              W. W. NORTON & COMPANY
                                                              WWNORTON.COM
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 64 of
                                      73




                   d been the first to plead guilty and take whatever deal
      Caroline ha tors had implicitly offere d. Gary and Nishad soon fol-
      the prosecu
             All orts O f P eople who had no idea exac tly what had hap-
      lowed.     s Sams
                "de      , World now thoug h t they kne w all they needed to
      pened ins•     ••     number of the m tho ught the crime should have
      kn          Prising                   ' b     H
         ow. A sur    ll a 1on g . It h a dn t een. edge f und m a n agers who
      b
        een obviousthe
                     a stoc ks of U S banks' t h at banked c ryp to ro utinely
      ha
         d shorted rurnors about the b a n ks cryp to c u stomers , like FTX , in
      spread nastyto dam age the b a nks. I f any . of
                                                    l these p eople h ad known
      an attempt ut FTx ' they mo5 l certa in Y Would h ave said it. They
      the tn1th abothose who had
                               . ex pressed
                                        .   su sp icion about Sam or FTX
      didn't. Even         he one simple thmg you would say if you knew the
                d to say t         the    t      ' de    ·
      bad faile           hiding:      cus omers     Posits that an, supposed to be
      secret they were ll inside A Lameda Research .
                      actua 1                         ..
       ·-~,1. FTX are       • the Bahamas had Jalled Sam a d f
      im-w,c;         •u·es 1n                                      n a ter a
          The auth on                       1· ·
                             • duced comp icat1ons extradited h un     '
                      sarn-1n
        f  the usual
      o . d States. In an indictment brought by the US at
      Unite




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1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page
                                 73
                                               TRUTH SE RUM
                                                                                               249

            fi     the Southern District of New York the US D
              or                  .       .           '            epartment ofJus
              ·ce charged Sam with vanous crimes and then                  .        -
            u                           .                       a11owed him to post
            .a: 25o million bond as bail. Sam hadn't posted e           ..
            .w                       •                          " 250 million Sam's
                arents had posted their home and assumed th . k               •
            p          . .     .                               e ns that he would
           J·ump ba1l-m which case they would, in theory' owe ~~250 million  ..
                                                                                 to
            the US government. They didn't have $250 m·ir   1       Th
                        .                                     IOn. e prosecutors
            didn't mmd; they seemed to care mainly that th
                                .           . .                 e press report that
           Sa m Bankman-Fned was still in possession of at 1                  ..
                                                                 east 250 m1lhon
           Once that happened, lots of people who should h            k           •
                                                                  ave nown better
           but who'd fallen into the habit of speaking without th· k.
                                                                     m mg took to
           Twitter _to say that ~am's_ability to fork over $250 million made up
           their mmds about his guilt. But most people hadn't waited even that
           long. ''Your son is a dirty, filthy rotten typical criminal hooky-nosed
           selfish g reedy jew," someone calling himself J. Revick had emailed
           Joe Bankman, the day FTX filed for bankruptcy. All the Bankman-
           Frieds received lots of messages like it. Joe had written back: "Isn't
           Revick a j ewish name?"
             Mobs now gathered and sentiment now hardened more quickly
           than ever. From a distance, it was soon easy to make up one's mind
           about what had happened inside Sam's World, even before Sam had
           his day in court. From a distance, it became almost taboo to raise
           any doubts about the nature of Sam's crime.* Up close, it was hard
           not to have such doubts. The closer a person was to rum, and to the
           business, the more questions they had about it Zane Tackett, for
          instance, could not understand why, toward the end of 2021, Sam
          hadn't simply replaced the customers' deposits inside of Alameda
          Research with loans from the crypto banks. Back then, Alameda
          could have b orrowed $25 - 30 billion without much trouble. Why
                                       ove the $8.8 billion of customer money
          not take that money an d m
                                  .f Alameda blew up it would take the crypto
          back into FTX, so t hat 1                           .             •
                                      .th "t:> Ramnik had  a different quesuon.
          banks, rather than FTX' w1 , •

                                    d.d with one fabulous exception: Kevin O'Leary. Say what
          * And basically no one • ,
                                        h 's got some nerve.
          you w1·11 about his influence, e




                                                                 u
                                                     W. W. NORTON &COMPANY
                                                     WWNORTON,CON
ase 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 66
                                     73

                                       GOING INFINITE
          146


                        h      saw the richest person in the world under th
          fall of 2021' t ey                                                 e age of
            . Wh the VCs looked at Sam, they saw the guy who mi h
          thirty.     en               .             .                 .     g t Very
                           CZ as the nchest person 1n the world, period           •
          soon rep1ace                                                     •
                               lained what Sam was about to do at this mo
             All of t h at exp                                               rnent-
                          uld later feel a lot harder to explain or even to b .
          and wh at wo                                  ,                      e1ieve.
           He set out to   establish FTX   as the world  s most regulated , st 1aw.
                                                                            mo

           ab1•d'mg, most rule-following crypto exchange. To .acquire as rnany
          licenses to allow him to operate legally and openly 1n as many coun-
           tries as he could. To make a bet on the rule of law shaping the law-
           less crypto markets. By the end of 2021, 16 percent of Americans
           claimed to have dabbled in crypto. Across Asia the numbers were
           likely bigger. It was only a matter of time, Sam thought, before regu-
           lators engaged with crypto and banished the unlicensed exchanges.
               The strategy was something like the opposite of Binance's. When
           FTX launched, in May 2019, Binance was merely one of a handful of
           crypto exchanges with roughly the same market share, of roughly 10
            percent. One of those, BitMEX, soon ran afoul of the U.S Department
            ofJustice, for "willfully failing to establish, implement and maintain
            an anti-money laundering program," and its founders, two American
            and one British, were v.ariously fined, given ·probation, and placed
            under house arrest. Two other exchanges, OKEx and Huobi, report-
            edly watched executives being hauled off by the Chinese police, and
             saw their assets frozen. CZ had left China three years earlier, in late
             2017, before that year's government crackdown, one of several before
             and after. He'd landed fi tin Singapore but finally settled in Dubai,
             which, among its charms, had no extr~dition treaty with the United
              states. Which was useful, s CZ's first response to new rules and reg-
              ulations was often to igno e them, and count on the regulators to
              lack the nerve or the re      ces to take action.
                  Th at had been
                               • the smart thing to do, so far. In two years, Bmanc
                                                                                •    e~
              share of crypto trading had boomed, from 10 percent to 50 percent.
               It offered financial products that local regulators either had banned
               or had yet !0 approve, and the regulators did not seem Wl'll'ng1   to do
               much about 1•t • B'mance ,s own exchange token, calIed BNB' was an
                example BNB                                                I •rn on the
                         •      was to Binance what FTT was to FTX: a c at
                         ARTIFICIAL
Case 1:23-md-03076-KMM Document 689-3LOVE
                                       Entered on FLSD Docket 05/21/2024 Page 67 of
                                      73                         121

              men and lasers and loud booming music,, h            . .
       wo           "                          .     ' e wrote m his journal
          fterward, but there was an odd microclimat h
       a                                                e t at seemed to follow
            e around as I wandered between the tables It d "d ,
       Jll                                            •     1 n t start to crystal-
       lize until I walked by CZ a few ... times and each t'        h b
                                                              ime e roke eye
       contact with his eye candy and embraced me· people            h. .
                                                      •       were t inking about
       .,r a lot. This was the first time CZ seemed more int
       ....,,                                                erested m . me than
      1-was in him."
             Out of thin air FTX minted three hundred fift             . .
                                                                  Y m111ton FTT
      tokens. Sam offered a chunk of them to employees at five cents each
      and another chunk to important crypto people, like cz, who migh~
      be friends of the exchange, at ten cents. CZ initially declined, as did
      roost of FTX's own employees-Ryan Salame was a big ·exception-
   . but other outside investors bought up enough that Sam eventually
      raised the price, first to twenty cents and then to seventy. On July 29,
      2019, FTT was listed on FTX and thus offered to the general pub-
     lic. ("That ~as the most nervous I'd ever seen Sam," said Nishad.) It
     opened at $1 and traded up to $1.50. Inside two months, Ryan Salame
     had made thirty times his money, and the outside buyers had made
     fifteen times their money. Of the original three hundred fifty million
     tokens minted, FTX had sold roughly sixty million at about a dollar
     less than they_ were now worth. Within a week or so, Sam's doubts
     about his ability to earn the trust of a mass audience had turn~d to
     regret for selling FTT way too cheap. Just how cheap became cl~ar
    when, a few weei,<.s later, CZ call~d Sam and offered to-buy a 20 pet._
    cent stake in FTX for $80 million.' •                                \
       h was as if a wildcatter had accidentally built his house·on_an oil
    field: Sam hadn't even really wanted_to run a crypto exchan , e. ,He'd •
   built a casino that .offered gamblers the chance. to make bet~ big- '
   ger than their bank accounts justified, at seemingly no risk to the :!:
   casino or to the other gamblers, and it was exactly _~hat the crypto 1.
   World wanted. His timing, though accidental, was perfect, as big pro-         r
   fe.ssional traders like Jane Street were entering the crypto markets ~'-
   ~•                                  • futures exch ange••Sam's choice
        m _need of a professional-grade
    ~Of.a.tion, also accidental, was perfect too: Hong Kong was maybe
    the only spot in the world where he and CZ would both feel at ease.
CaseSBF
      1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 68 of
   - CEO
    "13
                                       73
                              THE ORG CHART
    ◄                                                                                149

                         ought that the license might double or           .
                also th                                          even triple FTX's
           Jte        vernight.              .
              1t.1e o
          \13 r. re he could do any of this, he needed to get 'd f
              Be10                                                    n o CZ CZ
                       ed the stake in FTX that he had bought . I                •
          still own             .               .                  in ate 2019 for
                    ·mon. Relations between B1nance and FTX had .                    .
         $80 1111                .                 .                   since deteno-
                    ·nto simmering resentment. B1nance was the cl         b
         rated 1                                                      ass u 11y, FTX
                     ss nerd, and each took pleasure in using its speci'al
         ~cla                                                               p~~~
              dlent
         tof••A
                       the other.  The Binance  futures launch was  a  case 1-n point.
                                                                                   .
           It had taken the Binance internal team three months longer to cre-
          ate their crypto futures trading platform than it had taken Gary,
          working by himself, to create FTX's. Once it was up and running,
          it attracted little interest. Or, rather, as Sam instantly noticed, what
          trading there was in Binance's new futures contract was fishy: instead
          of the spasmodic flows of natur~lly occurring market activity, there
         was a regular tick, tick, tick of trades. He guessed that Binance had
         created bots to trade its new contract with itself, to create the illusion
         of activity.
              Wash trading, as it was ·cal~ed, would have been illegal on a reg-
         ulated US exchange, though the sight of it .did not bother Sam all
         that much~ He thought it wa~ sort _o f funny jus~ how brazenly many
         of the Asian exchanges· did it. In the summer of ~019, FTX created
        and published a daily analysis of the activity on other exchanges. It
              .
        estimated     that 80 percent or more of t h e volume on the second- and
             .
        third-tier              . .                   • f the volume on the top few
                      exchanges and 30 percent O                          .        .
                                    '
        exchanges, was fake. Soon after r1' pu
                                                    x·     blished its first analySis of
                                                                     . • , fi ·
                                             •           lled and said, We re nng our
        crypto trading activity, one exchange ca                    •zz b real The top
                                               k d the volumes wi e           •
        wash trading t,eam. Give us a wee ,. l!'n .         c.   th analysis as until
                                        . •f   d gratitude .ior e             , ,
        exch anges expressed rehe , an                    . h 30 percent of their
        then, lots of people    . . • . d h t far more t an
                                    assume . t a               •
        Volume was fake. • · .• • :·.. -••. ·. . ·. .      · as wash trading than: by how
                                .  d  that
           Sam was less surprise . . . . _. .    B1nance_W    .· '     .    ..
                                                        d . ing· a B-m1nus JOb at market
        b                .· . •. • "They were .. o               .             .
          adly they were doing it~·             ..     •bot would make a wide market
             .              . . . • 0 e B1nance                  . .
        lllan1pulation," he said. . n . · .... • •                .      ..
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 69 of
                                      73
          152                               GOING INFINITE


          astute," said one. "He'll never talk about any exchan    H .
                       .                                        ge. e thmks it's
          free marketing. But FTX worried him. From 2019 on h • 1
                                                                 , eon y spoke
          of FTX. He thought FTX was the only real threat to h.is position
                                                                         . . ,,
          A threat in which he was, weirdly, the second-largest share b.a1de~•
          after Sam~                                                          ½
    ._,    41

                 By the middle of 2021, Sam saw that he could not sweet-talk
          regulators and at the same time have CZ as a big investor. If you
          wanted to be the teacher's pet, you couldn't sit in the back of the
          classroom with the badass in the leather jacket. The first thing every
           regulator asked for was a list of your investors, and personal details
           about them. "They were asking CZ what his family situation was and
           where he lives, and CZ didn't want to say," said one former Binance
           employee. In the end, Sam told CZ that he wanted to buy him out
           of his FTX shares. For the stake he'd paid $80 million to acquire,
           CZ demanded $2.2 billion. Sam agreed to pay it. Just before they
           signed the deal, CZ insisted, for no particular reason, on an ·extra
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                                      ·t·ng memos to people inside FTX in which he rumi-
                 other h e was wn 1                                                        .
                                  • h     Martian on what caused ordinary Americans to
                 nated, as mtg t a                  '                    .                   .
                                           d t "We're currendy ahead 1n tech and favora-
                 like and trust a pro uc •                        .. "              "
                          . .           d b h' d 1- n name recognition, he wrote. We need
                  b 1Ttty rat 1ngs ' an e in t ers to decide to switch from Coinbase
                  to get 50m low eng~gemen us                    d 1,,         .: ~   ••     - •
                                 .    .        f: • 1 forceful nu ge.
                  to FTX. This will take a air y                           . •           -
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                             d climbed intO the car, as if he'd been
                      eded a •d home, which of course raised the
                     d why, e ~ o be here in the first place.
                       weird to think about?" he said, as we left the
                    turday. Saturday everything was normal."


         rny best to reconstruct what had happened the previous few
        ,... before reconsidering what had happened the previous few
     wee~,
     years, There'd been another dustup between Sam and CZ t
     it happened, had not seemed all that important. In late Octo
     had flown to the Middle East to raise money and, in the bargain, find
                               rn Hemisphere, for FTX. On the evening
                                    into CZ at a conference in Riyadh. It
                                     ears they'd been in the same room.
                                       t, only because it took less effort
                                      inute conversation in which no real
                                       Sam. "It was like fake nice. We dis-
                                      nowledge we were both there." The
                                        i to meet with its financial regula-
                                        oped that FTX might make Dubai
                                       rters. Sam later wrote up them
                                       . "I love Dubai," he said.



                                                       nificant co
                                                        they soil
                                                         e this
Case 1:23-md-03076-KMM Document 689-3 Entered on FLSD Docket 05/21/2024 Page 71 of
                                   GOING
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              196


                      accept them. In these woods, CZ was the biggest b
             wouId                                                .       ear
                  m seemed  to be going out of his way to poke him. Duba·     and
             Sa                                                                     •wasr1
             Houston with sheikhs. Sam's bid to turn CZ into a homeless fu _~Y,
                     nd to get back to him. And yet Sam didn't leave . guive
             ~s bou                                                     u~~
             0n  October  30  when   he returned to the Bahamas he  tweet  d at.
                             ' .                              .           e ajok
               bout CZ's inability to shape US crypto regulations. "Uh h . e
             a                       .   ::>"                          ' e is still
             allowed to go to DC, nght.
                Three days later, on .November 2, the crypto news site Co· D
                    ~ ~?:..-=-;-=-:~::::-::::~::-:~~~~~~-=-::..::=•n esk
              published an article about a curious document that appeared to have
              been leaked to them by someone inside Alameda Research , or per-
              haps someone who lent money to Alameda Research. It wasn't a for-
              mal balance sheet. There was no sign that it had been audited, or that
             it presented a complete picture of the contents of Alameda Research,
             or that it was even real. It listed $14.6 billion of assets and $8 billion
             of liabilities that were supposedly inside of Alameda Research as of
             June 30, 2022. What the CoinDesk piece wanted to highlight was that .
             more than a third of the assets were FTT, the token FTX had issued
             three years earlier.
                In and of itself the article struck people inside FTX as of no more
             than prurient interest.* Everyone noticed that one of its Jcontributors
             was the current girlfriend of Eric Manries, Carolin~ Ellison's former
             boyfriend at Jane Street. The previous month, the couple had vis-
             ited the Bahamas and stayed with employees of Alameda Research
             at Albany: Had the leak somehow originated ·inside the company?
             There was also the frisson that came with catching even a glimpse
             of the dragon's hoard. But the piece did not alarm or even surprise
             anyone at FTX . FTT was, in effect, equity in FTX-1t     • h adaclaimon
             the fi r st th'1rd ofFTX's revenues. FTX had generated a b·u·on
                                                                           1 1  dollars


             *E       . •               , •        •            •       •      r h the ForiJeS
                 ven mformed outsiders were not all that surprised. Steve Ehr ic .' h said to
             rep        h             ·              ·     •. •             "d that e
                 orter w O had been assigned to determine Sam's wealth, sai           e knew
             himself when h e saw t h e piece,
                                          .                           •
                                               Congratulations on knowing something
                                                                              . .    w
             two years ago:                                                   • •
se 1:23-md-03076-KMM DocumentART IF I C IA L L ov e
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                                        73
                                                                                          11 S
                  anges themselves routinely lost th .
          e"'h                                      e1r customer '
           . 1 because of who Sam was, and how h                       s money. Impl
          s1b e                          .               e related to                    au-
                Jue bow to engage with ordinary pe 1 .                   People. 1-Ie h d
          no c                  .      .             op e in the wa            .          a
                needed    engaging   with, when you ran                  Y ordinary     peo-
          PIe                                              an exchan e
             ccessful exchange, you needed to attract                    g • To create a
         su                        .                         a crowd·
         re1ate to a mass audience. You needed customers. And           'you needed to
              Ill if they trusted you. And they only trust d           . you only got
         the                                                 e you If the k
               were or thought they did. Sam wasn't                  .       Y new who
         you                      .                         sure his own colle
        knew who he was, which was why he was writing memos to ex agues                • .
            Plus he'd already tried and failed to do it. Back in M               . P1am It.
                                                .                      ay 2018, m Berke-
        Jev. Sam had asked Gary Wang to wnte the code fo b. .
          ,,                                                    r a itcom exchange
        and within a month Gary had done it. CryptonBTC .                                   '
                                     .                            , it was called. They
       Put it out on the web Without any idea how to attract attention          .        .
                                                                                      to It.
       No one showed up to trade on it. It was as if it had n                h
                                                                        ever appened.
       The code Gary had written for the first exchange had been sweet, how-
     • ever. From the total nothingness that had been CryptonBTC, Sam had
        learned that if he asked Gary to create a crypto futures exchange, he
       could do it in a month, and it would be more reliable and less risky for
       its users than any existing exchange. Gary was a genius.
           In Hong Kong, Sam and his small team began to pitch the billion-
       aire founders of existing exchanges on the idea of paying Alameda
      Research (Gary) to create a crypto exchange, different in important
      ways from any that existed. Alameda would supply the technology;
      the existing exchanges would supply the customers, and the trust.
      The most likely buyer, and the person to whom Sam himself pitched
     the idea, was CZ.
         CZ was Changpeng Zhao, CEO of the crypto exchange ~inance.
      Bom Injiangsu
             • •                           • d , f rom adolescence.' m Can-
                        province, he was raise
      ada' and educated there, returning eventua11Y tO China' with Cana- .
      d'     •·                                      •    •0 bs on the frmges
       ian citizenship. He'd run through some ordmaryJ
      of h1• h                                   d 1 er at Bloomberg-
           g finance-including a stint as a eve op               . H 'd left
      be£                                       ffi    at OKCom.       e
         ore landing as the chief technology O cer                     t r he
     OI{c •                                    . 2017· two years 1a e '
           oin in 2015 and created Binance in          '              owerful
     \Vas be·                               . . s as "the most p
             ing described in industry pubhcauon
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                                      73

                                     GOING INFINITE
           152
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                       .        "He'll never talk about any exchange. He th'         \\
                te " said one.                                              ink .
           astu '        .    B t FTX worried him. From 2019 on, he o l s lt'g
           f ree marketing.      u                                        n Ysp01.
                           h       ht FTX was the only real threat to his     .. ,t
           of FTX. He t oug                   .                           Position,,
                       .    h • h he was weird\ , the second-lar est sh            •
           A threat i~n~ w~~lC;;!!_.~..:.;.;~----"-------w.........~w.s::QQJ~
      after Sam-:P
      ~ 'ddle of 2021, Sam saw that he could not sw
       •        By the m1                  .                       . .       eet-ta\\
                          d at the same time have CZ as a big investor If
            regulators an                                  ' . .             • You
                           the  teacher's pet, you couldn   t sit  in the back   f
            wanted to b e                              .                       o the
                         "th the badass in the leather Jacket. The first thin
            classroom wi                            .                          g every
                         k d for was a list of your investors, and personal d .
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                         and trust a pr0 duct. "We ,re currently ahead in tech and fa:vora-
                   bihty ratings and b h • d •
                                 '       e in in name recognition," he wrote. e
                                                                                "W need
                    to get 50m low e                                             c · base
                                      ng~gement users to decide to switch from oln
                    to FTX. This will take a fairb r~h......___,,~ ·-- - - - - - - - -
